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                     Exhibit A
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                                                                                                         USOO8948784B2


(12) United States Patent                                                           (10) Patent No.:                        US 8,948,784 B2
       Chan et al.                                                                  (45) Date of Patent:                           *Feb. 3, 2015

(54) MONITORING GEOSPATIAL CONTEXT OF A                                        (58) Field of Classification Search
       MOBILE DEVICE                                                                   USPC .......... 455/4.56.1, 456.2, 456.3, 456.5, 456.6,
                                                                                                                                          455/457
(71) Applicant: Aegis Mobility, Inc., Vancouver (CA)                                   See application file for complete search history.
(72) Inventors: Mandy Chan, Vancouver (CA); Andrew                             (56)                     References Cited
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                                                                                                                (Continued)
(73) Assignee: Aegis Mobility, Inc., Burnaby (CA)
                                         -                                                      FOREIGN PATENT DOCUMENTS
(*) Notice:       Subject to any disclaimer, the term of this
                  patent is extended or adjusted under 35                  CN                    101.087475 A            12/2007
                  U.S.C. 154(b) by 0 days.                                 CN                    101369.912. A           2, 2009
                  This patent is Subject to a terminal dis-                                                     (Continued)
                  claimer.                                                                         OTHER PUBLICATIONS
(21) Appl. No.: 14/021,925                                                 Office Action issued in European Patent Application No. 09810968.
                                                                           9, dated Nov. 6, 2013.
(22) Filed:       Sep. 9, 2013                                             Primary Examiner — Kamran Afshar
(65)                    Prior Publication Data                             Assistant Examiner — Farideh Madani
                                                                               (74) Attorney, Agent, or Firm — Knobbe, Martens, Olson &
       US 2014/OO11520 A1             Jan. 9, 2014                         Bear, LLP
              Related U.S. Application Data                                    (57)                         ABSTRACT
(63) Continuation of application No. 12/040,818, filed on                      Systems, methods and interfaces ae disclosed for managing
       Feb. 29, 2008         Pat. No. 8 53 2,667 sy- u. Yos                communications associated with a mobile communication
        eb. 29,        , now Fal. No. 8,53 Z.oof.                          device. Mobile communication devices process environmen
(60) Provisional application No. 60/892,628, filed on Mar.                 tal inputs and transmit mobile communication device context
     2, 2007.                                                              information to a communication management system. The
                                                                           context information may, for example, reflect the motion
(51) Int. Cl.                                                              and/or geographic location of the mobile device, and may
     H04764/00                     (2009.01)                               reflect the risk associated with using the device to handle a
       H04M I/725                  (2006.01)                               call or other communications session. The communication
                           Continued                                       management system uses the context information, optionally
                          (Continued)                                      in combination with communication device profiles, to deter
(52) U.S. Cl.                                                              mine how to manage incoming and/or ongoing calls or other
     CPC ............ H04M 1/72569 (2013.01); H04 W4/02                    communication sessions. Mobile device users may also be
                        (2013.01); H04L 67/303 (2013.01);                  inhibited from initiating communication sessions.
                        (Continued)                                                        24 Claims, 26 Drawing Sheets

                               1a     comunication to                          a.                   4.


                                  12 COMMENCATION
                                         ANAGEMENT
                                                                      a    W           MOBILE
                                                                                                    AY               2
                                             SSTEM                                  COMMINATIONY
                                                                                      NETwork/ 22.
                                                                                                   106             DEWICE
                             16                                                                    8




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                                         COMPTNG             DEVICE
                                           DEWICE

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                                                              coMMuNicarion                       COMMENCATION
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                                               WFlow, AXylow
                                                 Interval=long

                                                                                      WilminV.
                                                                                     AxWeminx
                                                                                     Counteramax

   WaminW, AXyaminxy
        counterO.
       Interval-long
      Journey = off
                                                           Wani, AXWar
                                                              counterFO

                                                                                                                   WDninW.
                                                                                                                  AXy?ninxy,
                                                                                                                  countereo
                                    WarninW, AXy<ninxy.                                                     counter=counter
                                        countereo                                                                     1
                                       interwashort
                                     counter-Counter

                             WaninV, AXygminxy.
                               ounter=max count
                                 nterwarshot                      MinwaWaraxW
                                                          minxy.<AXygmaxxy, oWscity,                  Venigv.
                                                            oxycity, obearing-hwy,                  AXymiXy,
                                                  ?y                conterp0.
                                                                  intervaimedium
                                                                                                     counter
                                                                                                    counter=max
                                                                   unter-counter-1                     Count A.
                                                                   Journey=on                      Intervaimedium
                                                                                                    Journey=on
                   MinwaWamaxW
            minxygAXygmaxxy, oWscity,
              oxy-city, obearing hwy.
                     counterE)
                  interval medium
                    Journeyson
                    VenaxVAXyemaxxy, ovacity,                    MinyaVarnaxV.
                       oxygcity, obearingshWy              minxysAXyanaxxy, oWscity,
                              CounterO.                      oxycity, obearingehwy.
                          counter-max Count                         COLater O.
                             Interval=long                       counter=max count
                             Journey=on                           interva=medium
                                                                   Journeyson
                                                                          W>maxW, AXVDmaXXV, ovgcit
                                                                             oxygcity, obearingshwy,
                                                                                     Countereo
           W<rninW, AXy<ninxy.                                                     interval-long
            counter=max count                                                    counterFCounter
              Interwashort                                                           Journey=on




                                                       Fig.5.
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                                                   Wow, AXylow
                                                    interval-long

                                                                                           VeninW.
                                                                                          Axyaminxy,
                                                                                         Counteramax

      countero
      interval=long
     Journey F off
                                                                                                                       WeminV,
                                                                                                                   Axyaminxy.
                                                                     countee                                           countee)
                                                                                                                 CounterECounter

                                            countereo
                                           interwashort
                                          ountercounter-1



                                                                                                           VeninW.
                                                                                                          AXyeminxy.
                                                                     MinwaWCInaxW                         5.
                                                                minxygAXygma(Xy, oVacity.                  onax
                                                                 Oveci isit 2hwy,                        interAidium
                                                                                                          Journey=on
                                                                       interval=medium
                                                                     counter-counter-1

            minxy-Axy-maxxy. oW city,
              oxycity, obearing hwy.
                       Counter=0                                     MinwaWCmaxW
                  intervall=nedium                            minxygAXy-SmaxXy, oVacity,
                       Journey on                               oxyacity, obearinghWY
                                                                    interval expired
                                                                    Counteramax Count
                       VenaxV, AXyanaxxy, ovacity,                   Interwal=medium
                          oxyacity, obearingshwy                      Journey-on
                              interval expired
                             Counternax Cou
                                Interval-long                              VenaxV, AXyamaXXY, OVCCity.
                                Journey=on                                   oxygcity, obearing<hwy,
                                                                                    Countereo
         W<ninWAXy.<ninxy.                                                         interval-long
          counter=max count                                                       Counter-Counter
             Interwashort
                                                                      axWVigilightW. Journeyron
                                                            maxxygAXygflighty, oWefight,
                                                              oxydfilight, Bearingfight
                      WDflightW, AXy fightxy, ovaflight,              counter.0
                         oxygflight, obearingsflight,             Counternax Count
                                counterO.                           interval medium
                             Countermax cou                           Journey=on
                                interval-long                               WeflightW, Axyflightxy, ovsfight,
                                Journey-off                                    oxys flight, obearingsflight,
                                                                                         CounterO
         WarminW, AXygminxy                                                              interval=long
          counteramax count                                                           counter-counter-1
             intervall=shot                                                              Journey-off



                                                            Fig.6.
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                                                     Axylow
                                                   Interval=|long


                                                                                             AXyeminxy,
                                                                                             Counter-max

     AXygninxy
      Counter-0.
     Interval=long
    Journey = off
                                                                       AXvaminx
                                                                        counter=0


                                                                                                                        Axyaminxy.
                                          Axysminxy.                                                                     counter-0
                                                                                                                    CounterFoounter
                                          counterO.
                                         Intervaishort
                                        ounterFCounter-1
                                                                                                                  D
                                AXygninxy
                             sounter=max count                                                             AXYeninxW,
                                 terwashort                  minxvaAXvamaxx                               counters)
                                                                countereo                               Counteramax
                                                               intervalsmedium                              Count
                                                              countercounter-1                         Interval=medium
                                                                  Qrney=on                                 Journeylon


                     ninxysAXygmaxXy
                        CounterO.
                      interva=medium
                       Journey Fon                           ninxygAXyamaXXy
                                                                 counterO.
                                                             Counternax count
                                                               intervalsmediut
                                       AXymaxxy                     JourneyFon
                                        counter.0
                                    Counternax count
                                       Interval-long
                                       Journey=on

                                                                                 AXYama(XY
                                                                                  counterO.
                                                                                 interval=long
               AXyaminxy                                                     ounter-counter-1
           counter=max count                                                     Journey=on
              interwashort




                                                           Fig. 7.
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            GeoFence Context Assessment
            Algorithm State Machine




                                                                        Outside GeoFence?s
                   Outside GeoFences)                                 Current Context Not Equal
                    Current Context =                                     Previous Context
                     Previous Context                                  Send context update msg
                      Intervation




                                                                        Outside GeoFences
                 Outside GeoFences                                    Current Context Not Equal
                   Current Context =                                      Previous Context
                   Previous Context                                    Send context update msg
                     Interval Short                                        Interval = Short
        s




             Current Context = Previous Context
            Distance to Centroids Minimal radiuis                 Current Context Not Equal Previous
                        Intervals long                                          Context
                                                                              tewa
             Current Context Previous Context                           send context update msg
            Distance to centroid Minimal radiuis
                        Interval = short




                                                    Fig.8.
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                GeoFence Context
                Assessment Algorithm State
                Machi




                                                                          Low HOP
                                                                        Accuracy = high



                                                      Internate HOP
                                                         Accuracy
                                                          sufficient




                        Positional Data Not
                             Accurate
                           Intervat Short
                                                                               All Distances) Max Radii
                                                                                    Intervals long
                                                                                Current contexts outside




                                 Inside Geo
                                                                          Distances g Max
                            Fence?samin Radius    Fencesmin Radius              Radii
                               interval = Long       Intervals. Short      Interwar Short
                              Current context =
                                   inside           Current context       Current context
                                                          inside                utside

                                                              y
     Current ContextNot                                                                              Current Cotext =
        Previous Context                                                                              Previous Context
      Send context update
           message




                                                     Fig.9.
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                1200
                        START MOBILE DEVICE TRANSIT STATE Y
                                 PROCESSING ROUTINE


                        1202 INITIALIZE TRANSIT STATE
                                 ASNONTRANSIT;
                                                                  (D)
                                  TRANSMIT UPDATED
                                       TRANSIT STATE
                                       INFORMATION




                                     MINIMIM
                                 MOVEMENT CRITERIA
                                     SATISIFIED
                                                2




                 1206         CHANGE TRANSIT STATE TO
                              JOLIRNEY ONSET; TRANSMIT
                                LIPEDATED TRANSIT STATE
                                       INFORMATION
                 1208             COLLECT TRANSIT
                               INFORMATION OVER TIME
                                     WINDOW




                    1210                 MINIMUM
                                 MOVEMENT CRITERIA
                                     SATISFIED
                                                ?



                                          YES


       Fig. 12A.                           (a)
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                         CHANGE TRANSIT STATE TO
                             CITY/LIRBAN TRANSIT;             1212
                        TRANSMIT UPDATED TRANSIT
                             STATE INFORMATION


                               COLLECT TRANSIT
                          INFORMATION OVER TIME               1214
                                WINDOW




                                    CITY/LIRBAN
                              CRITERIA SATISFIED         >




                                 MINIMUM
                             MOVEMENT CRITERIA
                                 SATISIFIED
                                      2




                                    Fig.12B.
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                                CHANGE TRANSIT STATE TO
                              JOURNEY TERMINLIS; TRANSMIT
                                    UPDATED TRANSIT STATE
                                        INFORMATION




                   1222                COLLECT TRANSIT
                                    INFORMATION OVER TIME
                                           WINDOW




                                                                1224
                                          MINIMIM
                                     MOVEMENT CRITERIA
                                         SATISFIED
                                             p




         Fig.12C.
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                              CHANGE TRANSIT STATE TO
                                                               1226
                                    HIGHWAY TRANSIT;
                             TRANSMIT LIPDATED TRANSIT
                                    STATE INFORMATION


                                  COLLECT TRANSIT
                               INFORMATION OVER TIME
                                        WINDOW




                                       CITY/UIRBAN
                                    CRITERIA SATISFIED >




                                        MINIMUM
                                    MOVEMENT CRITERA
                                        SATISIFIED
                                             2




                                     FLIGHT CRITERIA
                                        SATISIFIED



        Fig. I2D.
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                       CHANGE TRANSIT STATE TO            1236
                            FLIGHT TRANSIT;



                          COLLECT TRANSIT
                       INFORMATION OVER TIME
                             WINDOW




                             |FLIGHT CRITERA
                                SATISIFIED
                                     2




                              MINIMUM
                          MOVEMENT CRITERA
                              SATISIFIED
                                   ?




                              Fig. 12E.
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                                                                            Power On
                       Power Off
                     Clear context
                                                                   Context = void, Attempts =0,




                                                  Context Data
                                                   Unchanged
                                                  Sleep timera.0

     Sleep n
                                      Time=0
                                     Attempts=
                                     Attempts+1

                       Timer-max                            ---
                      Attempts =O                        Send
                                                                                             Ack O. TimeO
                                            Acknowledgement                                        Attempts =
                                                                                                  Attempts +1


                                                    Timed



                       Acks Walid
                       Send Affirm                                 Neyretta
                     Context = Current
                        Attempts =0
                                                                     Context:
                                                                       in     a
                                                                              NeW




                                               AcksO,s Timer) O




                                             Fig. 13.
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                                                     1400
                                                                     START GEOSPATIAL AREA
                                                                          PROCESSING

                                                     1402           OBTAIN GEOSPATIAL ZONE
                                                                           DEFINITION
                                                    1404
                                                                   BEGIN COLLECTION INTERVALE


        1420                                                  OBTAIN MOBILE COMMUNICATION
                                                              DEVICE LOCATION INFORMATION
                    DECREASE
         COLLECTION INTERVAL
           starrara...'.....sava...a...........".             COMPLITE DISTANCE AND BEARING
                                                               TO GEOSPATIAL ZONE CENTROID
           TRANSMT LIPIDATED




                                                                            DISTANCE
                             CONTEXT NOT IN                               OUITSIDE MAX
                            GEOSPATIAL ZONE;                                 RADIUS
                                                                                2




                                                                            DISTANCE
                                  CONTEXT IN                               WITH IN MIN
                             GEOSPATLAL ZONE                                 RADIUS
                                                                                p




                                                                       TRANSMIT uPDATED
                                                                           CONTEXT

                                                            1424
                                                                      INCREASE COLLECTION
        Fig. 14.                                                            INTERWAL
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                             1500
                                        START MOBILE COMMuNICATION Y


                                      RECEIVE CONTEXT INFORMATION FROM
                                        MOBILE COMMUNICATION DEVICE



                                         OBTAIN ONE OR MORE MOBILE
                                       COMMUNICATION DEVICE PROFILES




                                      DETERMINE MOBILE COMMUNICATION
                                             DEVICEAVAILABILITY




                                             OBTAIN REQUEST FOR
                                            COMMUNICATON LINK




             TRANSIT                                DEVICE
           REJECTION/                            AVAILABILITY
          TERMINATION                                  ?




         COMMLINICATION
         LINK MITIGATION                    TRANSMITAuTHORITY

        Fig.15.
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                                                                                            Context Update
                                                                                           Message Recevied
                                                                                             build new active
                                                                                          dynamic routing table

                                                                                          No Outstanding
                                                                                              Actions




 Update Outstanding Context. Not Walid
    Establishment    exception service                  Request or Data
      Recuests      handling call or data                  Session
      Database        session continuation               Establishment
                            denied                                                         Actions Pendino          Call or at
                                                                                             contexts Waid               Ea
                                                                                            service priority call   Termination
                                                                                           connection and data
                                                                                                 session
                                                                                              establishment
                                                                                                   requests
                               Context. Not Walid                              Context Walid
                                 ediate call or dat                           Service call or data
                                     session                                       Session
                                  establishment                                 establishment
                                      request
                                                                               Context Update
                                                                              Message Recevied
                                                                                build new active
                           Context. Not Walid                                 dynamicoating Palaess
                            exception service
                            andling call or data
                                 Session              handling call or data         handling call or data
                              establishment           session continuation                Session
                                  request                  permitted                   establishment
                                                        Secondary Call                    request
                                                         Connection
                                                       Request or Data
                                                           Session
                                                        Establishment
                                                           Request




                                                       Fig. 16.
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                                                       US 8,948,784 B2
                               1.                                                                        2
   MONITORING GEOSPATAL CONTEXT OFA                                      communication device. For example, urban or city driving
             MOBILE DEVICE                                               conditions in which there is heavy traffic can oftentimes result
                                                                         in low traveled distance and/or low velocities with frequent
           CROSS-REFERENCE TO RELATED                                    stops. Under a pure measured Velocity approach, the mobile
                  APPLICATIONS                                           device may be allowed to operate if the vehicle is stopped,
                                                                         although use of a mobile communication device for Such city
  This application is a continuation of U.S. patent applica              driving conditions may not be preferable. Thus, the tradi
tion Ser. No. 12/040,818, entitled “SYSTEMAND METH                       tional Velocity/distance approaches may be inefficient in dis
ODS FORMONITORING THE GEOSPATIAL CONTEXT                                 tinguishing urban driving conditions from a person in a
ASSOCIATED WITH A MOBILE COMMUNICATION                              10   parked car by measuring Velocity and/or distance traveled.
DEVICE, filed Feb. 29, 2008, which claims the benefit of                    Another approach to limit the operation of mobile commu
U.S. Provisional Application No. 60/892,628, entitled                    nication devices relates to the utilization of control algorithms
 ENHANCED CELLULARMOBILITY CALL AND SES                                  that utilize third party information sources, such as Software
SION MANAGEMENT filed on Mar. 2, 2007, the entireties                    calendaring programs, to determine an availability of a user to
of which are hereby incorporated herein by reference.               15   receive communications. In an illustrative embodiment, a
                                                                         control algorithm can intercept, or otherwise, receive, a
                        BACKGROUND                                       request from a third party to initiate an audio communication
                                                                         with a mobile communication device. The control algorithm
   1. Technical Field                                                    can then poll the mobile communication device and/or addi
  The disclosure relates generally to mobile communication               tional third party information sources to determine the avail
devices and communication management systems and to sys                  ability for establishing the audio communication. For
tems, methods and interfaces for management of mobile com                example, if the control algorithms polls a third party calen
munication devices utilizing communication profiles and                  daring Software application and determines that the user asso
mobile communication device contexts.                                    ciated with the mobile communication devices is at an
   2. Description of the Related Art                                25   appointment, the control algorithm may prevent the audio
   Generally described, mobile communication devices, such               communication from being established. These approaches,
as mobile phones, facilitate audio and data communications               however, can become inefficient by increasing communica
for users. In one aspect, users can utilize a mobile communi             tion initiation latencies by requiring a synchronous polling of
cation device for audio and data communication without ref               the mobile communication device for availability. Addition
erence to the particular environment in which they are              30   ally, these approaches generally do not facilitate management
attempting to utilize the mobile communication device. For               of outgoing communications by a user of a mobile device
example, a stationary user can utilize a mobile phone in an              and/or the continued management of the mobile communica
area in which use of the phone does not necessarily pose a               tion device once a communication channel has been estab
safety issue to the user or other individuals in the nearby area.        lished.
In another aspect, however, the particular environment Sur          35
rounding the user and/or use of the mobile communication                                          SUMMARY
device in the particular environment can impact the use of the
mobile communication device, the safety of the specific                    Systems, methods and interfaces for managing communi
users, and/or the safety of other individuals.                           cations associated with a mobile communication device are
   By way of example, driver distraction can be responsible         40   provided. In one embodiment, mobile communication
for a large and growing number of road traffic accidents. One            devices process environmental inputs and utilize context
increasing cause of driver distraction is the operation of a             assessment algorithms that process environment inputs from
mobile communication device while driving, Such as for the               a variety of sensors and/or information sources into mobile
purposes of audio conversation. As applied to driving (and               device context information. Examples of the context assess
other activities), the distraction associated with operation of a   45   ment algorithms include various travel state context assess
mobile communication device can be characterized in terms                ment algorithms, various geospatial (or geofence) location
of the mechanical operation of the device (e.g., dialing num             context assessment algorithms, and the like. In at least some
bers on a keypad to initiate a call) and/or the cognitive load of        cases, the context assessments reflect a degree of user risk
the Subsequent communication session (voice communica                    associated with using the mobile communication device to
tions and/or operation of the device). Additionally, the con        50   engage in an interactive communication session, Such as a
tinued evolution of mobile communication devices into mul                Voice call or a text messaging session.
tifunctional components, such as for text messaging, image                  As appropriate, the mobile communication device trans
and video capture, handheld gaming, etc., will only continue             mits the processed context information to a communication
to increase the potential for operator distraction and/or addi           management system. For example, the mobile communica
tional cognitive load on users during operation of the mobile       55   tion device may transmit context information upon a change
communication device.                                                    from a previously determined context. Additionally, the
   One approach to limit the operation of mobile communi                 mobile communication device can continue to transmit
cation devices relates to the utilization of control algorithms          updated context information or changes in context informa
in vehicles to limit the use of cellular phones or cellular              tion to the communication management system while a user
components. In an illustrative embodiment, a control algo           60   communication session is in progress.
rithm can allow or deny communication based on monitoring                   The communication management system uses the received
various environmental sensors, such as the placement of a                context information, preferably in combination with profiles
parking brake, the detection of a vehicle in gear, vehicle               associated with particular mobile devices and users, to make
Velocity and/or a distance traveled. This approach, however,             decisions regarding how to manage communication session
can be inefficient in that the sensor information, such as          65   requests and/or ongoing communication sessions. For
vehicle velocity and/or distance traveled by itself, is not nec          example, in one embodiment, the communication manage
essarily indicative of the appropriateness of use of a mobile            ment system determines how to route or otherwise process an
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incoming call to a mobile communication device using con              FIG. 9 is a block diagram of another embodiment of a
text information already received from the mobile device, geospatial context assessment algorithm state machine
without having to poll the mobile device for its context; thus, implemented by a mobile communication device in providing
the incoming call can be processed rapidly. Information mobile communication context information to a communica
regarding the identity of the caller and/or the electronic cal- 5 tion management system;
endar of the callee may also be considered. If the communi            FIGS. 10A-10C are block diagrams of the communication
cation management system determines that the mobile com management system of FIG. 1 illustrating the transmission of
munication device is not available to establish a requested mobile communication device context information by a
communication channel/session, the communication man 10 mobile device and the processing by the communication man
agement system can provide communication channel mitiga agement system of communication channel initiation
tion options such as interaction with Voicemail components, requests         Submitted by the mobile communication device;
                                                                      FIG. 11 is a block diagram of the communication manage
interactive Voice response components, and the like.
   In some embodiments, the communication management ment system                 of FIG.1 illustrating the transmission of updated
system can facilitate the provisioning and management of at 15 mobile       communication device context information by a
                                                                   mobile communication device and the processing of an ongo
least Some of the aspects of the mobile communication device ing communication channel by the communication manage
profile information through the presentation of various ment system;
graphical user interfaces generated over a communication              FIGS. 12A-12E are flow diagrams illustrative of travel
network, such as the Internet, and/or from user interaction via    state context assessment algorithm implemented by a mobile
the mobile communication device.                                2O communication device in providing mobile communication
   Neither the foregoing summary nor the following detailed device context information to a communication management
description purports to define the invention. The invention is system;
defined by the claims.                                                FIG. 13 is a block diagram illustrative of a mobile commu
                                                                   nication device context management state diagram imple
       BRIEF DESCRIPTION OF THE DRAWINGS                        25 mented by a mobile communication device for managing
                                                                   context information;
   The foregoing aspects and many of the attendant advan              FIG.14 is a flow diagram illustrative of a geospatial context
tages of this invention will become more readily appreciated assessment algorithm implemented by a mobile communica
as the same become better understood by reference to the tion device in providing mobile communication context
following detailed description, when taken in conjunction 30 information to a communication management system;
with the accompanying drawings, wherein:                              FIG. 15 is a flow diagram illustrative of a communication
   FIG.1 is a block diagram illustrative of one embodiment of management routine implemented by a communication man
a communication management environment including a com agement System for managing communications according to
munication management system and a number of mobile mobile communication device context information;
communication devices;                                          35 FIG. 16 is a block diagram illustrative of communication
   FIG. 2 is a block diagram illustrative of aspects of the channel session state diagram implemented by a communi
communication management system of FIG. 1 in an embodi cation management component for managing communica
ment of the communication management environment;                  tion channels;
   FIG. 3 is a block diagram illustrative of aspects of the           FIG.17 is a block diagram illustrative of a screen display of
mobile communication device of FIG. 1 in an embodiment of 40 a user interface for obtaining mobile communication device
the communication management environment;                          profile information for managing mobile communication
   FIGS. 4A-4C are block diagrams of the communication device availability based on mobile communication device
management system of FIG. 1 illustrating the transmission of context information; and
mobile communication device context information by a                  FIG. 18 is a block diagram illustrative of a screen display of
mobile device and the processing by the communication man- 45 a user interface for obtaining mobile communication device
agement system of communication channel initiation profile information for managing mobile communication
requests Submitted by a third party communication device;          device availability based on mobile communication device
   FIG. 5 is a block diagram of one embodiment of a travel context information.
state context assessment algorithm state machine imple
mented by a mobile communication device in providing 50                 DETAILED DESCRIPTION OF ILLUSTRATIVE
mobile communication device context information to a com                                  EMBODIMENTS
munication management system;
   FIG. 6 is a block diagram of another embodimentofa travel    The description in this specification is dedicated to the
state context assessment algorithm state machine imple memory of Joe Teater.
mented by a mobile communication device in providing 55 A system will now be described that embodies various
mobile communication device context information to a com     inventive features related to the management of communica
munication management system;                                tions with a mobile communications device. As will be rec
   FIG. 7 is a block diagram of another embodimentofa travel ognized, many of these features can be used independently of
state context assessment algorithm state machine imple others, and represent distinct inventions. Further, many of the
mented by a mobile communication device in providing 60 features can be implemented differently than described
mobile communication device context information to a com     herein. Thus, nothing in this detailed description implies that
munication management system;                                any particular feature, component, process step, characteris
   FIG. 8 is a block diagram of one embodiment of a geospa tic, of combination of the foregoing is essential.
tial context assessment algorithm state machine implemented     Generally described, embodiments of the present invention
by a mobile communication device in providing mobile com- 65 correspond to systems, methods and interfaces for the man
munication context information to a communication manage agement of communications with a mobile communication
ment system;                                                 device. Specifically, aspects of the present invention relate to
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the management of communications through the utilization                ity for the mobile communication device to establish a com
of mobile communication device profiles, mobile communi                 munication channel as a function of mobile communication
cation device context information, and/or caller identification         device context information. The communication device pro
information to manage communications.                                   files may also be provisioned as a function of identification
   The mobile communication devices continuously collect,               information of an applicable third party. As will also be
or otherwise obtain, various inputs corresponding to a mobile           described in greater detail below, the communication man
communication device environment. The mobile communi                    agement system 102 determines the availability of the mobile
cation device processes some or all of the inputs with a                device to establish a communication channel asynchronously
context assessment algorithm to generate mobile communi                 to any request to establish a communication channel.
cation device context information. The mobile communica            10      To manage requested communications or previously estab
tion device transmits the context information to a communi              lished communication channels, the communication manage
cation management system through a variety of                           ment system 102 communicates with corresponding Sub
communication methods/channels. The mobile communica                    systems responsible for establishing the wireless
tion device can limit the transmission of context information           communication channel. Such as mobile Switching center
to the communication management system Such that context           15   108, and utilizes the predetermined availability information
information is transmitted upon determination of a change in            and appropriate identification information to allow/reject
a previous mobile communication device context. Addition                communications. The communication management system
ally, the mobile communication device continues to transmit             102 can communicate with the mobile switching center 108
updated context information or updates to context informa               via a direct communication connection, a secure communi
tion throughout various modes of operation, including during            cation channel via a communication network, Such as com
an established communication.                                           munication network 114, or via a public communication net
  The communication management system utilizes the                      work.
mobile communication device context information to deter                  Additionally, the communication management system 102
mine communication device availability by processing the                provides communication channel mitigation options in the
context information with a mobile communication device             25   event that the mobile communication device is unavailable,
profile. The mobile communication device profiles can                   which can include interfacing with a communication mitiga
specify what communication channels are available for par               tion components 103. Such as a voice mail system or an
ticular mobile communication device contexts. Additionally,             interactive voice response system. Still further, the commu
the mobile communication device profiles can be a function              nication management system 102 facilitates the generation of
of identification information, such as caller ID. Still further,   30   various graphical user interfaces for provisioning and/or
the communication device profiles can specify communica                 managing mobile communication device profiles via comput
tion channel mitigation options that can include a suggestion           ing devices 116. Illustrative components of the mobile com
ofalternative communication channels or other messages, the             munication management system will be described in greater
presenting of interactive response systems, and/or the initia           detail with regard to FIG. 2.
tion of actions in the event the mobile communication device       35     With continued reference to FIG. 1, the communication
is not available to maintain a requested communication chan             management environment 100 can include a number of
nel or an existing communication channel.                               mobile communication devices 104. The mobile communi
   For Subsequent communication requests initiated by the               cation devices 104 can correspond to wide variety of devices
user of the mobile communication device and/or a third party,           or components that are capable of initiating, receiving or
the communication management system processes the                  40   facilitating communications over a communication network
request according to the prior determined communication                 including, but not limited to, personal computing devices,
availability selected as a function of appropriate selection            hand-held computing devices, integrated components for
information, such as the caller ID of the third party. Addition         inclusion in computing devices, home electronics, appli
ally, in the event of a change of a mobile communication                ances, vehicles, and/or machinery, mobile telephones,
device context during a previously established communica           45   modems, personal digital assistants, laptop computers, gam
tion channel that changes communication availability, the               ing devices, and the like. In an illustrative embodiment, the
communication management system can implement speci                     mobile communication devices 104 include a wide variety of
fied communication channel mitigation actions, which can                Software and hardware components for establishing commu
include the modification or termination of the existing com             nications over one or more communication networks, includ
munication channel.                                                50   ing wireless or wired mobile communication networks 106.
  Although aspects of the system will be described to the               The mobile communication devices 104 can be associated
drawings, flow diagrams, screen interfaces, and specific                with one or more users for managing communication channel
examples, one skilled in the relevant art will appreciate that          requests and existing communication channels according
the disclosed embodiments are illustrative in nature. Accord            mobile communication device contexts. Illustrative compo
ingly, the disclosed embodiments should not be construed as        55   nents of a mobile communication device will be described in
limiting.                                                               greater detail with regard to FIG. 3.
   Communication Management Environment                                   With continuing reference to FIG. 1, an illustrative com
   With reference now to FIG. 1, a block diagram illustrative           munication management environment 100 can include a
of a communication management environment 100 for man                   number of additional components, systems and/or Sub
aging mobile communication device communications will be           60   systems for facilitating communications with the mobile
described. As illustrated in FIG. 1, the communication man              communication devices 104 and/or the communication man
agement environment 100 includes a communication man                    agement system 102. The additional components can include
agement system 102 for processing requests for establishing             one or more mobile switching centers 108 for establishing
a communication channel between a Supported mobile device               communications with the mobile communication devices 104
and a third party communication device. The communication          65   via the mobile communication network 106, such as a cellular
management system 102 maintains mobile communication                    radio access network, a wireless network based on the family
device profiles that are provisioned to establish the availabil         of IEEE 802.11 technical standards (“WiFi"), a wireless net
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work based on IEEE 802.16 standards (“WiMax), and other                  can include Software and hardware components necessary to
wireless networks. The operation of mobile communication                 establish one or more communication channels correspond
networks, such as mobile communication network 106 are                   ing to various communication protocols such as Bluetooth,
well known and will not be described in greater detail.                  the family of IEEE 802.11 technical standards (“WiFi"), the
  As illustrated in FIG. 1, the mobile switch center 108                 IEEE 802.16 standards (“WiMax), short message service
includes interfaces for establishing various communications              (“SMS), voiceover IP (“VoIP) as well as various generation
with via the communication network 114, such as the Inter                cellular air interface protocols (including, but not limited to,
net, intranets, private networks and point-to-point networks.            air interface protocols based on CDMA, TDMA, GSM,
In one example, the mobile switch center 108 can include                 WCDMA, CDMA2000, TD-SCDMA, WTDMA, LTE,
interfaces for establishing communication channels with             10   OFDMA and similar technologies).
various communication devices 112. Such as landline tele                    The communication management system 102 can also
phones, via a public switched telephone network (PSTN)                   include a communication processing component 204 for
110. The mobile switch center 108 can include interfaces for             determining the availability of a mobile communication
establishing communication channels with various commu                   device 104 for communication channels based on processing
nication network-based communication devices 112. Such as           15   mobile communication device context information according
aVoIP communication device. Still further, the mobile switch             to a mobile communication device profile. The communica
center 108 can include interfaces for establishing communi               tion processing component 204 can execute various processes
cation channels with a mobile-based communication device                 or algorithms for processing transmitted mobile communica
112, such as another mobile communication device. For                    tion device context information to determine mobile commu
example, the communication devices 112 can correspond to a               nication device availability. Additionally, the communication
third-party mobile communication that establishes an audio               processing component 204 can also manage the various con
communication channel with a mobile communication                        text assessment processes or algorithms and updates to exist
device 104. Accordingly, although communication network                  ing previously stored context assessment processes and algo
114 is illustrated as a single communication network, one                rithms that are transmitted and executed by the mobile
skilled in the relevant art will appreciate that the communi        25   communication devices 104. Still further, the communication
cation network can be made up of any number of public or                 processing component 204 processes requests for communi
private communication networks and/or network connec                     cations between the mobile communication device 104 and
tions.                                                                   third parties based on the predetermined availability informa
   The various communication devices 112 can include the                 tion and identification information (e.g., the caller ID of a
hardware and Software components that facilitate the various        30   specific third party caller).
modes of operation and communication, Such as via wired                    With continued reference to FIG. 2, the communication
and wireless communication networks. Additionally, the                   management system 102 can include a communication miti
computing devices 116 can include various hardware and                   gation component 206 for processing alternative communi
Software components, such as a browser Software application,             cation options if a requested communication channel is
that facilitate the generation of the graphical user interfaces     35   unavailable or if an existing communication is to be termi
for provisioning and managing mobile communication                       nated due to a change in mobile communication device con
device profiles as will be described below.                              text. As previously discussed, the communication mitigation
   One skilled in the relevant art will appreciate that the com          component 206 can interface with existing communication
ponents and configurations provided in FIG. 1 are illustrative           components, or Subsystems, such as mitigation components
in nature. Accordingly, additional or alternative components        40   103 for providing user Voicemail functionality or accessing
and/or configurations, especially regarding the additional               existing Voicemail services hosted by the mobile Switching
components, systems and Subsystems for facilitating commu                center 108. Additionally, the communication mitigation com
nications may be utilized.                                               ponent 206 can provide additional data and/or instructions for
   With reference now to FIG. 2, illustrative components for             establishing alternative communication channels between the
the communication management system 102 will be                     45   mobile device and a third party communication device 112,
described. Although the operation of the various functions               Such as providing interactive Voice response functionality, as
associated with the communication management system 102                  will be explained in greater detail below. Still further, the
will be described with regard to below subcomponents, one                communication management system 102 can include a
skilled in the relevant art will appreciate that the subcompo            mobile service provider communication component 208 for
nents are illustrative in nature. Accordingly, a communication      50   processing requests for establishing communications, which
management system 102 may include additional components                  includes indicating to a mobile switching center 108 whether
or alternative components to facilitate one or more functions.           to allow a requested communication channel to be established
Additionally, although the various Subcomponents are illus               and/or indicating whether to terminate an existing communi
trated as integrated into a communication management sys                 cation channel.
tem 102, one or more of the components may be implemented           55     The communication management system 102 can further
in a distributed manner over a communication network and/or              include a mobile communication device profile data store 210
be implemented as a network service, e.g., a Web service.                for maintaining mobile communication device profiles. The
  As illustrated in FIG. 2, the communication management                 mobile communication device profile data store 210 may be
system 102 includes a mobile device communication compo                  one or more databases configured to provide the communi
nent 202 for establishing communications with a mobile              60   cation processing component 204 required data to determine
communication device 104. In an illustrative embodiment,                 mobile communication device availability according to
the mobile device communication component 202 corre                      mobile communication device context. As will be described
sponds to a component for facilitating the bi-lateral transfer of        in greater detail below, the mobile communication device
data, such as mobile device context information, context                 profile data defines the availability of the mobile communi
assessment algorithms, etc., between the mobile communi             65   cation device 104 as a function of a current mobile commu
cation device 104 and the communication management sys                   nication device context. A mobile communication device pro
tem 102. The mobile device communication component 202                   file can be defined such that the determined mobile
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communication device applicability will be applicable to all            information upon detection of a change in mobile communi
third party users, groups of users or specific users. For               cation context information. Additionally, in an alternative
example, profiles can be associated with a telephone number             embodiment, the communication management system com
Such that the communication manage system 102 can select                munication component 302 may also transmit, or otherwise
an appropriate profile (and its predetermined availability)             publish, mobile communication device context information
based on identification information associated with a com               to additional recipients, such as communication network
munication request, such as caller identity information.                resources such as Web sites or network services, and/or to
Accordingly, the mobile communication device profile infor              other peer destinations.
mation in the communication device profile data store 210                 The mobile communication device 104 can also include a
can be stored in a manner that facilitates that faster retrieval   10   mobile communication device context information compo
according to identification information, as will be described           nent 304 for processing a set of inputs corresponding to a
in greater detail below.                                                mobile device environment to determine mobile device con
  With continued reference to FIG. 2, the communication                 text information. Illustrative context assessment algorithms
management system 102 can also include a mobile commu                   or processes for determining mobile device context informa
nication device context data store 212 for maintaining mobile      15   tion will be described in greater detail below. The mobile
communication device context information previously trans               communication device contexts can identify or describe
mitted by the mobile communication devices 104 and/or for               aspects of the mobile communication device 104, aspects of
maintaining the mobile communication device context                     the mobile communication device environment, and/or
assessment algorithms utilized by the mobile communication              aspects of the user associated with the mobile communication
devices to process inputs into mobile communication device              device. For example, the mobile communication device con
context. In one embodiment, the mobile communication                    text corresponds to a determination of various states of move
device context information may be accessible, or otherwise              ment/travel. Such as in a non-transitory state, an in-transit
published, to other computing devices, network based ser                state (including city/urban travel transit, highway transit, and
vices, or users via the communication network 114.                      in-flight transit states), a journey onset state, and a journey
  With reference now to FIG. 3, illustrative components for        25   termination state. In another example, the mobile communi
the mobile communication device 104 will be described.                  cation device context corresponds a determination of whether
Although the operation of the various functions associated              a mobile communication device's present location is within a
with the mobile device 104 will be described with regard to             geospatial boundary, also referred to as geofencing, (includ
below components, one skilled in the relevant art will appre            ing within the geospatial boundary, on a border of the geospa
ciate that the components are illustrative in nature. Accord       30   tial boundary, or outside the geospatial boundary). One
ingly, a mobile device 104 may include additional compo                 skilled in the relevant art will appreciate that the identified
nents or alternative components to facilitate one or more               mobile device contexts are not exhaustive and that any num
functions. Additionally, although the various Subcomponents             ber of additional mobile device contexts, or variations of the
are illustrated as integrated into a mobile device 104, one or          identified mobile communication device contexts, may also
more of the components may be implemented in a distributed         35   be defined for the mobile communication device 104.
matter overa communication network and/or be implemented                  With continued reference to FIG. 3, the mobile communi
as a network service, e.g., a Web service.                              cation device 104 can also include a mobile communication
  As illustrated in FIG. 3, the mobile device 104 includes a            device environment interface 306 for obtaining inputs corre
communication management system communication compo                     sponding to a mobile communication device environment. In
nent 302 for facilitating communications with the communi          40   an illustrative embodiment, the set of inputs can include infor
cation management system 102. As described above with                   mation from one or more sensors such as a global position
regard to the mobile device communication component 202                 sensor (GPS) component or other location identification com
(FIG. 2), the communication management system communi                   ponents, accelerometers, altimeters, compasses, gyroscopes,
cation component 302 facilitates the bi-lateral transfer of data        microphones, scales or other weight detection mechanisms,
between the mobile communication device 104 and the com            45   range finders, proximity sensors, gas or radiation detectors,
munication management system 102. One skilled in the rel                electric current or electric induction detection, digital image
evantart will appreciate that the communication management              sensors, thermometers and the like. Additionally, the set of
system communication component 302 can include Software                 inputs can correspond to information obtained from commu
and hardware components necessary to establish one or more              nication network based resource Such as calendaring infor
communication channels corresponding to various commu              50   mation, identity or contact information and the like.
nication protocols for establishing the bi-lateral communica               In one embodiment, the set of inputs include information
tion channels. Moreover, although the communication man                 from sensors or information gathering components that are
agement system communication component 302 is illustrated               integrated or attached to the mobile computing device 104. In
as a separate component, the functionality of the component             another embodiment, the set of inputs include information
may be integrated, or otherwise combined, with one or more         55   from external sensors or information gather components that
hardware or software components utilized by the mobile                  provide the information via a communication channel. Such
communication device 104 to make communication channels                 as a hardwired connection or wireless connection (e.g., Blue
(e.g., cellular communication channels or SMS communica                 tooth). Still further, in another embodiment, the set of inputs
tion channels as part of the designed function of the mobile            include information related to sensors or processed informa
device).                                                           60   tion from another device or article of manufacture associated
   As will be described in greater detail below, the commu              with the mobile communication device. For example, the set
nication management system communication component                      of inputs can include information from a vehicle computer
302 transmits current mobile device context information in              indicating information about the operation/condition of the
accordance with the context assessment algorithms on the                vehicle and/or environmental information. Additional infor
mobile device 104. Once a current mobile communication             65   mation from seat sensors may be able to inform that the
device context is established, the communication manage                 remote end user is indeed a passenger and not a driver, and
ment system 302 can limit additional transmission of context            further, that seat belts are engaged. Still further, in another
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embodiment, the set of inputs include information from sen                  With reference now to FIG. 4-6, the interaction between
sors that can be repurposed, such as through additional pro               various components of the communication management
cessing, to determine mobile communication device context                 environment 100 of FIG. 1 will be illustrated. For purposes of
information. For example, image data from a camera sensor                 the example, however, the illustration has been simplified
or signal data from a transceiver chipset may be utilized as              Such that many of the systems, Subsystems, and components
inputs to a context assessment algorithm to determine mobile              utilized to facilitate communications are not shown. One
communication device context. The above provided identifi                 skilled in the relevant art will appreciate that such compo
cation of the specific types of sensors is not exhaustive.                nents or Subcomponents can be utilized and that additional
Accordingly, additional or alternative sensors may be utilized            interactions would accordingly occur without departing from
to provide information for determining mobile communica              10   the spirit and scope of the present invention.
tion device context information.                                            With reference now to FIGS. 4A-4C, one embodiment
   One skilled in the relevant art will appreciate that the set of        related to the processing of a request from a third party com
inputs may be selected to correspond specifically to the par              munication device 112 to establish a communication channel,
ticular algorithms utilized to calculate mobile communica                 such as an audio call, will be described. For purposes of the
tion device context. In one example, microphonic sensors             15   illustrative example, a particular mobile computing device
may be used for detecting high noise levels from the embed                104 has registered with a communication management Ser
ded device microphone and using this context to permit only               Vice that provides the communication management system
high importance work related calls and data session requests              102. Additionally, a user of the mobile device 104 has provi
that pertain to the current work function. Furthermore, the               sioned a mobile communication device profile that identifies
mobile device context information can be utilized to inform               the availability of the mobile communication device as a
the calling party that the callee is in a high noise environment          function of mobile communication device contexts and third
and that a text message may be a more appropriate. In another             party identification information. Alternatively, some portion
example, the sensor information can corresponds to a deter                the mobile communication device profile may be pre-provi
mination whether a Bluetooth headset or alternative hands                 Sioned for the user and/or automatically set by an administra
free device is active in accordance with a corporate policy and      25   tor, Such as a service provider.
local jurisdiction law. In still a further example, radiation                As illustrated in FIG. 4A, during the operation of the
detector sensor information could be utilized to detect                   mobile communication device 104, or during an initialization
increases in radioactive levels. The context could be utilized            of the mobile communication device, the mobile communi
to immediately instruct the call and data session management              cation device interface component 306 obtains a set of inputs
control to connect the mobile end users with an emergency            30   corresponding to the mobile communication device environ
response team and autonomously report existing location and               ment. The set of inputs are processed by the mobile commu
radiation levels just in case the mobile end user is incapaci             nication device context processing component 304 to gener
tated by some external cause.                                             ate mobile communication device context information. The
   In still a further example, gas or Substance detector sensors          communication management system communication compo
could be utilized to detect an increase in gas or Substance          35   nent 302 than transmits the mobile communication device
levels. The context could be utilized to immediately instruct             context information to the communication management sys
the call and data session management control to connect the               tem 102 as appropriate. Specifically, to reduce power con
mobile end users with an emergency response team and                      Sumption and/or bandwidth consumption, the communica
autonomously report existing location and gas and Substance               tion management system communication component 302
levels just in case the mobile end user is incapacitated by          40   may limit the transmission of mobile communication device
Some external cause. In yet another example, utilization near             context information for the initialization of a mobile commu
field inductive techniques sensors could be utilized to detect            nication device context, a detection of a change in mobile
the process of charging via near field inductive components.              communication device context and/or for the re-establish
The context could be used such that a call and data session               ment of a mobile communication device context.
management entity should perhaps be reroute calls and data           45      Upon receipt of the context information, the mobile device
session requests to different devices.                                    communication component 202 transmits the context infor
   In still another example, proximity sensor information                 mation to the communication processing component 204 for
could be used to determine a context that the user is currently           processing. The communication processing component 204
interacting in a specific manner with the mobile end device               obtains a corresponding, or applicable, mobile communica
may enable specific call and data session management deci            50   tion device profiles from the mobile communication device
sions to be critically enabled. In a further example, image data          profile data store 210. The communication processing com
from a mobile device camera may be utilized via signal con                ponent 204 may utilize one or more mobile communication
text assessment algorithms to determine the user's environ                device profiles to determine mobile communication device
ment. In another example, user configurable keys/control sen              availability from the context information. Alternatively, a
sor data can be utilized to customize mobile device context          55   single mobile communication device profile may define
information, Such as using soft keys, to register specific con            availability for multiple mobile communication device con
texts provided by the mobile communication device user                    texts. The communication processing component 204 then
(e.g., “watch me.” “help, etc.).                                          determines the availability of the mobile communication
  The mobile communication device 104 can further include                 device to establish a communication channel (either receipt of
a mobile communication device data store 308 for storing             60   a request or the initiation of a request) based on the process
input information from the mobile communication device                    ing.
environment interface 306, context information generated by                  Thereafter, in the illustrative example of FIG. 4A, a com
the mobile communication device processing component 304                  munication device 112. Such as a third party communication
and/or the various context assessment algorithms or pro                   device 112 initiates a request to establish a communication
cesses used by the mobile communication device processing            65   channel with the mobile device 104. The request is received
component to generate the mobile communication device                     by the mobile switching center 108 and is held pending an
context information.                                                      approval or rejection by the communication management
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system 102. The applicable mobile switching center 108 then                                              -continued
transmits the request to the mobile service provider commu
nication component 208 to request a determination whether                     oxy            variation in displacement over the last Nvar
                                                                                             observations
the requested communication channel should be established.                    Bearing        bearing
The request can include additional information utilized by the                Obearing       variation in bearing over the last Nvar observations
communication management component 102 to select an
appropriate profile, including caller identification informa                Thresholds
tion and the like.
   With reference now to FIG. 4B, upon receipt of the request        10
or notification from the mobile switching center 108, the                 Min Axy               minimum distance to be traveled in an interval
communication processing component utilizes the predeter                  Min W                 minimum velocity threshold
                                                                          Max V                 maximum velocity threshold
mined availability of the mobile communication device 104                 Min Axy-city          minimum distance to be traveled in an interval for
to authorize or reject the establishment of the requested com                                   city/urban driving
munication channel. If the request to initiate the communica         15
                                                                          Min Axy-highway       minimum distance to be traveled in an interval for
                                                                                                highway driving
tion channel is authorized, the authorization is transmitted to           Vcity                 minimum velocity threshold for city/urban driving
the mobile switching center 108, which processes the request              Vhighway              minimum velocity threshold for highway driving
for initiation of the communication channel in an appropriate             oxy-city
                                                                          oxy-Hwy
                                                                                                city/urban driving displacement variance threshold
                                                                                                highway driving displacement variance threshold
manner. Accordingly, the requested communication channel                  oxy-flight            aircraft flight displacement variance threshold
is completed. As will be described in greater detail below with           oV-city               city/urban driving velocity variance threshold
regard to FIG. 15, the communication management system                    oV-Hwy                highway driving velocity variance threshold
102 may continue to monitor the established communication                 obearing-city         city/urban driving bearing variance threshold
channel for a change in mobile communication device con                   obearing-hwy          highway driving bearing variance threshold
text and will manage the communication channel as defined
in the applicable mobile communication device profile.               25      Intervals & Counters
   With reference now to FIG. 4C, alternatively, if the request
for initiation of the communication channel is rejected based
on a predetermined unavailability of the mobile communica                     Long         typically 64 to 32 seconds, configurable, default = 48
tion device 104, the communication management component                       Medium       typically 8 to 32 seconds, configurable, default = 24
                                                                              Short        typically 8 to 2 seconds, configurable, default = 8
102 transmits a rejection authorization communication to the         30       Counter      number of observations counter
mobile switching center 108 to prevent the initiation of the                  MCount       Max count typically 4-12, default = 8
communication channel. Additionally, the communication                        Nwar         number of observations required to compute variance
mitigation component 206 can provide appropriate commu
nication mitigation, such as notifications to the users of the               FIG. 6 is a block diagram of another embodiment of a travel
mobile communication device 104 and the communication                35
device 112. Additionally, the communication management                    state context assessment algorithm state machine imple
component 102 can obtain a selection of a communication                   mented by a mobile communication device 104 in providing
channel alternative defined in the mobile communication                   mobile communication device context information to a com
device profile. Such as Voicemail systems or interactive Voice            munication management system 102. As will be explained in
response systems, as will be described in greater detail below.      40
                                                                          greater detail below with regard to FIG. 12, the algorithm may
   With reference now to FIGS. 5-9, state diagrams of illus               use one or more of the following parameters to determine
                                                                          mobile communication device 104 travel state context infor
trative context assessment algorithms will be presented. One
skilled in the relevant art will appreciate that although specific        mation, where the parameters, and thresholds identified in
states, variables, and thresholds are presented in FIGS. 5-9.             FIG. 6 are represented by:
                                                                            Motion Parameters
the disclosure is not limited to the application of the illustra     45
tive context assessment algorithms. Additionally, the illustra
tive context assessment algorithms may also be applied with                   AXY            distance traveled over time interval
variations to the identified parameters. Accordingly, the illus               Velocity       current instantaneous velocity
trative context assessment algorithms should not be construed                 Alat-long      proxy for distance traveled over time interval
as limiting.                                                         50       ovel           variation in velocity over the last N observation
                                                                              oxy            variation in displacement over the last Nvar
   FIG. 5 is a block diagram of one embodiment of a travel                                   observations
state context assessment algorithm state machine imple                        Bearing        bearing
mented by a mobile communication device 104 in providing                      Obearing       variation in bearing over the last Nvar observations
mobile communication device context information to a com
munication management system 102. As will be explained in            55     Thresholds
greater detail below with regard to FIG. 12, the algorithm may
use one or more of the following parameters to determine
mobile communication device 104 travel state context infor                Min Axy                 minimum distance to be traveled in an interval
mation, where the parameters, and thresholds identified in              Min W                     minimum velocity threshold
FIG. 5 are represented by:                                           60 Max V
                                                                        Min Axy-city
                                                                                                  maximum velocity threshold
                                                                                                  minimum distance to be traveled in an interval
  Motion Parameters                                                                               for city urban driving
                                                                          Min Axy-highway         minimum distance to be traveled in an interval
                                                                                                  for highway driving
    AXY          distance traveled over time interval                     Min Axy-flight          minimum distance to be traveled in an interval
    Velocity     current instantaneous velocity                                                   for aircraft flight
    Alat-long    proxy for distance traveled over time interval      65   Vcity                   minimum velocity threshold for city/urban
    ovel         variation in velocity over the last N observation                                driving
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                                                                     US 8,948,784 B2
                                      15                                                                                16
                                 -continued                                          Geo-Spatial Parameters
Vhighway                 minimum velocity threshold for highway driving
Vflight                  minimum velocity threshold for aircraft flight           AXYC               distance between geo-fence centriod and current location
oxy-city                 city/urban driving displacement variance                 Bearing            Bearing between geo-fence centriod and current location
                         threshold                                                Bearing List       List of bearings and displacments that define a
oxy-Hwy                  highway driving displacement variance threshold                             geo-spatial region, a geo-fence.
oxy-flight               aircraft flight displacement variance threshold
oV-city                  city/urban driving velocity variance threshold
oV-Hwy                   highway driving velocity variance threshold                 Thresholds
oV-flight                aircraft in-flight velocity variance threshold
Obearing-city            city/urban driving bearing variance threshold       10
Obearing-hwy             highway driving bearing variance threshold
Obearing-flight          in-flight bearing variance threshold                     Max radius         minimum distance to be traveled in an interval
                                                                                  Min radius         minimum velocity threshold
                                                                                  Min-AXY            minimum displacement between location observations
   Intervals & Counters
                                                                             15
                                                                                     Intervals & Counters
    Long          typically 64 to 32 seconds, configurable, default = 48
    Medium        typically 8 to 32 seconds, configurable, default = 24
    Short         typically 8 to 2 seconds, configurable, default = 8             Long                 typically 64 to 32 seconds, configurable, default = 48
    Counter       number of observations counter                                  Medium               typically 8 to 32 seconds, configurable, default = 24
    MCount        Max count typically 4-12, default = 8                           Short                typically 8 to 2 seconds, configurable, default = 8
    Nwar          number of observations required to compute variance             Interval counter     duration counter in seconds between observations


   FIG. 7 is a block diagram of yet another embodiment of a                          FIG. 9 is a block diagram of another embodiment of a
travel state context assessment algorithm state machine                           geospatial context assessment algorithm state machine
implemented by a mobile communication device 104 in pro                      25
                                                                                  implemented by a mobile communication device 102 in pro
viding mobile communication device context information to                         viding mobile communication context information to a com
a communication management system 102. As will be                                 munication management system 102. As will be explained in
explained in greater detail below with regard to FIG. 12, the                     greater detail below with regard to FIG. 14, the algorithm may
algorithm may use one or more of the following parameters to                 30
                                                                                  use one or more of the following parameters to determine
determine mobile communication device 104 travel state con                        mobile communication device 104 geospatial context infor
text information, where the parameters, and thresholds iden                       mation, where the parameters, and thresholds identified in
tified in FIG. 7 are represented by:                                              FIG. 8 are represented by:
   Motion Parameters                                                                Geo-Spatial Parameters
                                                                             35

         AXY                  distance traveled over time interval                AXYC               distance between geo-fence centriod and current location
                                                                                  Bearing            Bearing between geo-fence centriod and current location
                                                                                  Bearing List       List of bearings and displacments that define a
   Thresholds                                                                                        geo-spatial region, a geo-fence.
                                                                             40
                                                                                     Thresholds
    Min Axy                 minimum distance to be traveled in an interval
    Min Axy-city            minimum distance to be traveled in an interval
                            for city/urban driving
    Min Axy-highway         minimum distance to be traveled in an interval        Max radius         minimum distance to be traveled in an interval
                            for highway driving                              45   Min radius         minimum velocity threshold
    Min Axy-flight          minimum distance to be traveled in an interval        Min-AXY            minimum displacement between location observations
                            for aircraft flight
                                                                                     Intervals & Counters
   Intervals & Counters
                                                                             50
                                                                                  Long                 typically 64 to 32 seconds, configurable, default = 48
    Long          typically 64 to 32 seconds, configurable, default = 48          Medium               typically 8 to 32 seconds, configurable, default = 24
    Medium        typically 8 to 32 seconds, configurable, default = 24           Short                typically 8 to 2 seconds, configurable, default = 8
    Short         typically 8 to 2 seconds, configurable, default = 8             Interval counter     duration counter in seconds between observations
    Counter       number of observations counter
    MCount        Max count typically 4-12, default = 8                      55
                                                                                     With reference now to FIGS. 10A-10C, one embodiment
                                                                                  processing of a request from a user at a mobile communica
   FIG. 8 is a block diagram of one embodiment of a geospa                        tion device 104 to establisha communication channel. Such as
tial context assessment algorithm state machine implemented                       an audio call, with a third party communication device 112
by a mobile communication device 102 in providing mobile                     60   will be described. As described above with regard to FIGS.
communication context information to a communication                              4A and 4B, for the illustrative example, it is assumed that a
management system 102. As will be explained in greater                            particular mobile computing device 104 has registered with a
detail below with regard to FIG. 14, the algorithm may use                        communication management service that provides the com
one or more of the following parameters to determine mobile                       munication management system 102 and provisioned a
communication device 104 geospatial context information,                     65   mobile communication device profile that identifies the avail
where the parameters, and thresholds identified in FIG. 8 are                     ability of the mobile communication device for particular
represented by:                                                                   mobile communication device contexts.
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                           17                                                                        18
  As illustrated in FIG. 10A, during the operation of the              appropriate notifications to the users of the mobile commu
mobile communication device 104, or during an initialization           nication device 104 and the communication device 112.
of the mobile communication device, the mobile communi                 Additionally, the communication management component
cation device interface component 306 obtains a set of inputs          102 can obtain a selection of a communication channel alter
corresponding to the mobile communication device environ               native as will be described in greater detail below.
ment. The set of inputs are processed by the mobile commu                With reference now to FIG. 11, in the event that a commu
nication device context processing component 304 to gener              nication channel has been established between a mobile com
ate mobile communication device context information. The               munication device 104 and a communication device 112, the
communication management system communication compo                    communication management system 102 continues to deter
nent 302 then transmits the mobile communication device           10   mine the availability of the mobile communication device
context information to the communication management sys                104 to remain in the established communication channel. As
tem 102 as appropriate. Specifically, to reduce power con              illustrated in FIG. 11, the mobile communication device 104
Sumption and/or bandwidth consumption, the communica                   continues to receive sensor information and determine mobile
tion management system communication component 302                     communication device context information. In the event that
may limit the transmission of mobile communication device         15   the mobile communication device context information has
context information for the initialization of a mobile commu           changed or is otherwise no longer valid, the communication
nication device context, a detection of a change in mobile             management component 302 of the mobile device mobile
communication device context and/or for the re-establish               transmits the updated mobile communication device context
ment of a mobile communication device context. Examples                information to the communication management system 102.
of context assessment algorithms were previously identified            In one embodiment, the mobile device communication com
with regard to FIGS. 5-9.                                              ponent 202 may only transmit updated context information in
   Upon receipt of the context information, the mobile device          the event that a change in context is determined. Alternatively,
communication component 202 transmits the context infor                the mobile device communication component 202 may trans
mation to the communication processing component 204 for               mit update context information after a predetermined time.
processing. The communication processing component 204            25   Because the mobile device 104 has an established communi
obtains one or more corresponding, or applicable, mobile               cation channel with the communication device 112, the com
communication device profiles from the mobile communica                munication management system communication component
tion device profile data store 210. The communication pro              302 may have to utilize a different communication channel
cessing component 204 then determines the availability of the          (such as an SMS channel) to transmit the updated context
mobile communication device to establish a communication          30   information if the communication channel previously utilized
channel (either receipt of a request or the initiation of a            to transmit the context information is being utilized for the
request) based on the processing.                                      established communication channel.
   Thereafter, in the illustrative example of FIG. 10A, the               Upon receipt of the context information, the mobile device
mobile device 104 initiates a request to establish a commu             communication component 202 transmits the context infor
nication channel with a communication device 112. Such as a       35   mation to the communication processing component 204 for
third party communication device 112. The request is                   processing. The communication processing component 204
received by the mobile switching center 108 and is held                obtains one or more corresponding, or applicable, mobile
pending an approval or rejection by the communication man              communication device profiles from the mobile communica
agement system 102. The applicable mobile Switching center             tion device profile data store 210. The mobile communication
108 then transmits the request to the mobile service provider     40   device profile may be the same profile previously utilized to
communication component 208, along with additional infor               determine the availability of the mobile communication
mation, Such as the identification information (e.g., telephone        device or an additional or alternative mobile communication
number) of the third party communication device 112.                   device profiles. As previously described, the selection of the
   With reference now to FIG. 10B, upon receipt of the                 appropriate or applicable profile stores can include the utili
request or notification from the mobile switching center 108,     45   zation of identification information, such as caller ID infor
the communication processing component obtains applicable              mation. The communication processing component 204 then
communication profiles using the identification information            determines the availability of the mobile communication
or other information and utilizes the predetermined availabil          device to maintain the established communication channel
ity of the mobile communication device 104 to authorize or             based on the profiles. If it is determined to maintain the
reject the establishment of the communication channel. If the     50   established communication channel, the communication
request to initiate the communication channel is authorized,           management system 102 can transmit an authorization mes
the authorization is transmitted to the mobile switching center        sage or remain silent. Alternatively, if the communication
108, which processes the request for initiation of the commu           channel should be terminated based on a determined unavail
nication channel in a typical manner. Accordingly, the                 ability of the mobile communication device 104, the mobile
requested communication channel is completed. As will be          55   service provider communication component can transmit
described in greater detail below with regard to FIG. 15, the          communication channel control information that includes a
communication management system 102 may continue to                    termination notification to the mobile switching center 108.
monitor the established communication channel for a change             Additionally, the communication mitigation component 206
in mobile communication device context.                                can provide appropriate communication channel mitigation
   With reference now to FIG. 10C, alternatively, if the          60   information, Such as notifications to the users of the mobile
request for initiation of the communication channel is                 communication device 104 and the communication device
rejected based on a determined unavailability of the mobile            112 and provide a selection of a communication channel
communication device 104, the communication management                 alternative as will be described in greater detail below.
component 102 transmits a rejection authorization commu                   Mobile Device Context Assessment Algorithms
nication to the mobile switching center 108 to prevent the        65     With reference now to FIGS. 12A-12E, an illustrative rou
initiation of the communication channel. Additionally, the             tine 1200 implemented by the mobile communication device
communication mitigation component 206 can provide                     context processing component 304 for determining context
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information of a mobile communication device 104 will be                    detected when the mobile communication device is within
described. As described above, the mobile communication                     range of the transmitter and no longer detected when the
device context can correspond to a determination of a specific              mobile communication device is beyond the range of the
transit state indicative of a current mobile communication                  transmitter. For known communication ranges of transmit
device environment. The availability for a communication                    ters, such as WiFi wireless nodes, velocity and distance trav
channel may be based on the determined transit state and the                eled information may be calculated based on monitoring time
appropriate mobile communication device profile. With ref                   from the detection of a signal from a transmitter to loss of the
erence to an above mentioned example, a user can provision                  signal. Additionally, the detection of the signal from the trans
a mobile device profile such that calls from an identified user             mitter would not require registration with the transmitter and
are rerouted automatically to a Voicemail system in the event          10   could still be practiced with transmitters that restrict access,
that mobile device (e.g., the user) is in a city/urban transit              Such as through encrypted transmissions.
state. As will be described, in event that the mobile commu                   If the minimum movement criteria have not been satisfied,
nication device 104 determines it is currently in a city/urban              it is assumed that the mobile communication device (consid
transit state, the mobile communication device transmits the                ering its environment) is still in a non-transit state and the
updated context information to the communication manage                15   routine 1200 returns to block 1202. The routine 1200 may
ment component 102, which determines the availability/un                    continue to loop through this portion for any amount of time.
availability information based on the updated context infor                     Alternatively, if the minimum movement criteria have been
mation for all profiles. Thereafter, calls from the identified              satisfied, it is assumed that the mobile communication device
users are rerouted automatically without the need to poll the               104 (considering its environment) is in motion, and at block
mobile communication device 104 until the mobile commu                      1206, the transit state is changed to a journey onset state.”
nication device provides updated context information.                       Because the transit state has changed, the mobile communi
   Examples of two transit state context algorithm state dia                cation device 104 may transmit updated context information
grams were presented with regard to FIGS.5-7. However, one                  to the communication management component 102 indica
skilled in the relevant art will appreciate, however, that the              tive of the change in transit state to a journey onset state. At
specific algorithms and variables described in this disclosure,        25   block 1208, the mobile communication device context pro
including the example state diagrams of FIGS. 5-7 and in                    cessing component 304 enters an observation window for
routine 1200 (FIG.12) are illustrative in nature and should not             collecting the various inputs over a period of time. The obser
be construed as limiting. Accordingly, variations or alterna                Vation window can be configured such that the mobile com
tives may be implemented, such as the removal of one or more                munication device 104 collects a fixed number of sets as
transit states, different progression of transit states, and the       30   defined by an information collection interval over a time
specific criteria utilized to transition between transit states are         period. Each time a set of inputs is collected a counter is
within the spirit and scope of the present invention.                       decremented and the process continues until the targeted
  With reference now to FIG. 12A, at block 1202, the routine                number of sets on inputs have been collected (e.g., the counter
1200 begins with the initialization of the transit state to non             is decremented to a value of “0”). Additionally, if the mobile
transit by the mobile communication device context process             35   communication device environment interface 306 is currently
ing component 304. In an illustrative embodiment, the non                   not receiving inputs, or otherwise not accepting inputs, the
transit state is a first state indicative of when the mobile                mobile communication device 104 may enter a lower power
communication device 104 is powered on or begins tracking                   consumption mode in which one or more components of the
transit state. The initialization of the transit state to nontransit        mobile communication device 104 become inactive or enter
may be transmitted to the communication management sys             in a low power consumption mode of operation. In turn, the
                                                                       40
tem 102 or may be assumed as the starting context for the          mobile communication device 104 then powers up, or wakes
mobile communication device 104. At decision block 1204, a         up, at the next information collection interval. The specific
test is conducted to determine whether minimum movement            information collection interval implemented by the mobile
criteria have been satisfied based on processing the set of communication device context processing component 304
inputs. For example, the test can correspond to a review of 45 may be dependent on the granularity of the sensor informa
Velocity input(s) and distance traveled input(s) to determine tion, the amount of input information that should be collected
whether the input values exceed a minimum threshold.               for a given transit state, and/or the likelihood of a potential
   Velocity and distance information can be obtained by the change in transit State. For example, alonger collection inter
mobile communication device through a variety of sensors val can be set for transit states in which variations in the set of
and/or components designed to generate or calculate Such 50 inputs is not expected (e.g. a highway transit State) to further
information. Examples include, but are not limited to, GPS conserve mobile communication device power.
devices/components, accelerometers, navigational equip                Upon the expiration of the time window, at decision block
ment, and the like. As previously described, the sensors and/ 1210, a test is conducted to determine whether minimum
or components may be integrated into the mobile communi movement criteria have been satisfied based on processing
cation device 104 or may be separate components (e.g., a car 55 the set on inputs. If the minimum movement criteria have not
navigation system) that provide the input information via a been satisfied, the mobile communication device 104 is deter
wired or wireless connection.                                      mined to be no longer in motion and the routine 1200 returns
   In another example, the Velocity and distance information to block 1202 to a “nontransit travel state (described above).
may be calculated by the mobile communication device 104 Because the transit state has changed, the mobile communi
through by the utilization of recognizable or detectable 60 cation device 104 may transmit updated context information
objects. In accordance with this example, the mobile commu to the communication management component 102 indica
nication device 104 receives signals generated by fixed trans tive of the change in transit state back to a non transit state.
mitters, such as cellular communications base stations or             With reference now to FIG. 12B, alternatively, if at deci
WiFi wireless nodes, which generally include some identifi sion block 1210 (FIG. 12A), the minimum movement criteria
cation information specific to the particular transmitter, Such 65 have been satisfied, at block 1212, the mobile communication
as an SSID for a wireless node. As a mobile communication                   device 104 is determined to be in motion and the transit state
device 104 travels, signals from specific transmitters are                  is changed to a “city/urban transit state. In an illustrative
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embodiment, the city/urban transit state can correspond to the            cation device 104 may transmit updated context information
driving conditions experienced in city or urban areas in which            to the communication management component 102 indica
there are frequent stops and wide changes in Velocity. Again,             tive of the change in transit state. At block 1222, the mobile
because the transit state has changed, the mobile communi                 communication device context processing component 304
cation device 104 may transmit updated context information                enters an observation window in which a collection interval
to the communication management component 102 indica                      may be set to a shorter time period because of the expectation
tive of the change in transit state back to a nontransit state. At        for a higher variance between the sets of inputs at each col
block 1214, the mobile communication device context pro                   lection interval.
cessing component 304 enters an observation window that                     Upon the completion of the observation window, the
defines a set of intervals for collecting multiple sets of inputs    10   mobile communication device context processing component
over a period of time. In a city/urban transmit state, the                304 will determine whether the mobile communication
collection interval for receiving each set of inputs may be               device has re-entered a travel state (e.g., after a temporary
configured to be shorter because of the potential for greater             stop) or has entered a non-transitory state (e.g., at home or at
variances in the information from set of inputs.                          the office). Accordingly, at decision block 1224, a test is
  At decision blocks 1216-1218, the mobile communication             15   conducted to determine whether a minimum movement has
device context processing component 304 processes the col                 been detected based on the set on inputs. If minimum move
lected input data to determine whether the mobile communi                 ment has not been detected, the mobile communication
cation device 104 should remain in its current city/urban                 device 104 is determined to be no longer in motion. Accord
transit state, whether the mobile communication device has                ingly, the transit state is changed to “non transitory at block
reached a terminus state, or whether the transit state is more            1202 (FIG. 12A). Alternatively, if a minimum movement has
indicative of another transit state typically indicative of high          been detected based on the set on inputs, the mobile commu
way travel. The collected information can include velocity,               nication device 104 is determined to be in transit again and the
bearing, and distance traveled information. Additionally, the             routine 1200 proceed to block 1212 (FIG. 12B) in which the
collected information can include processed Velocity, bearing             transit state is changed to city/urban transit state. In both
and distance traveled information, referred to as variance           25   decision alternatives, the mobile communication device 104
information, that indicate variances and/or rates of variance in          transmits updated context information to the communication
the velocity, bearing and distance traveled over each of the              management component 102 indicative of the change in tran
collection intervals in the observed time window.                         sit state.
  At decision block 1216, a test is conducted to determine                   With reference now to FIG. 12D, if at decision block 1216
criteria indicative of city/urban transit state have been satis      30   (FIG. 12B), the criteria indicative of city/urban transit state
fied. The criteria indicative of city/urban transit state can             were not satisfied, the mobile communication device context
correspond to consideration of variance thresholds for veloc              processing component 304 determines that the mobile com
ity, distance traveled and bearing that are indicative of pat             munication device is a highway transit State, indicative of
terns of city/urban travel. For example, velocity variances for           highway travel. Accordingly, at block 1226, the transit state is
a city/urban transit state may be indicative of a collection of      35   changed to a “highway' traveled state and the mobile com
inputs at a time in which a vehicle is stopped (e.g., at a street         munication device 104 transmits updated context information
light) and another collection when the vehicle is traveling at a          to the communication management component 102 indica
higher velocity. The thresholds may be determined by                      tive of the change in transit state. At block 1228, the mobile
observed driving behavior, set by an administrator or set by a            communication device context processing component 304
particular user. If the criteria indicative of city/urban transit    40   enters an observation window in which a collection interval
state have not been satisfied, the mobile communication                   may be set to a longer time period because of the expectation
device context processing component 304 determines that the               for a lower variance between the sets of inputs at each col
mobile communication device 104 is not likely in a city/urban             lection interval. When the mobile communication device 104
driving embodiment and moves to block 1226, which will be                 is a highway transit state, it can transition to a terminus state
described in greater detail below. Alternatively, if the criteria    45   (e.g., indicative of a completion of travel), revert back to a
indicative of city/urban transit state have been satisfied, the           city/urban transit state or remain in a highway transit state.
mobile communication device context processing component                  Additionally, in an optional embodiment, the mobile commu
304 determines that the mobile communication device 104                   nication device context processing component 304 can deter
should either remain in a city/urban travel state or has reached          mine that the mobile communication device 104 is a flight
a terminus. Accordingly, at decision block 1218, a test is           50   state indicative of airplane travel. Accordingly, as will be
conducted to determine whether minimum movement criteria                  illustrated in FIG. 12D, the mobile communication device
have been satisfied based on processing the set on inputs. If             context processing component 304 can also reach an "in
the minimum movement criteria have not been satisfied, the                flight transit state from the highway traveled state. In all the
mobile communication device 104 is determined to be no                    decision alternatives involving a change in transition state,
longer in motion and the routine 1200 proceeds to block 1220         55   the mobile communication device 104 transmits updated con
(FIG. 12C). Alternatively, if the minimum movement criteria               text information to the communication management compo
have been satisfied, the routine 1200 returns to block 1212. In           nent 102 indicative of the change in transit state.
this instance, however, the mobile communication device 104                  At decision block 1230, a test is conducted to again deter
does not need to transmit context information to the commu                mine whether criteria indicative of city/urban transit state has
nication management component 102 because the transit                60   been satisfied. If the city criteria indicative of city/urban
state has not changed.                                                    transit state has been satisfied, the mobile communication
  With reference now to FIG. 12C, at block 1220, the transit              device context processing component 304 determines that the
state of the mobile communication device is changed to a                  mobile communication device 104 should revert back to a
 journey terminus’ transit state. In an illustrative embodi               city/urban travel state and the routine 1200 returns to block
ment, the journey terminus transit State can correspond to the       65   1212 (FIG. 12B). Alternatively, if the criteria indicative of
completion of the initial travel. As previously described,                city/urban transit state has not been satisfied, the mobile
because the transit state has changed, the mobile communi                 communication device context processing component 304
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determines that the mobile communication device 104 should                tion of the geospatial region's central position. The centroid
either remain in the highway transit state, move to a journey             can be defined in terms of a longitude and latitude, X and y
terminus State, or move to an in flight state. Accordingly, at            coordinates in a grid-type layout or other position coordi
decision block 1232, a test is conducted to determine whether             nates. The geospatial information can also include a mini
a minimum movement has been detected based on the set on                  mum radius distance that corresponds to a minimum radius
inputs. If the minimum movement has not been detected                     that is within all boundaries of the geospatial region. The
based on the set on inputs, the mobile communication device               geospatial information can further include a maximum radius
104 is determined to be no longer in motion and the routine               that corresponds to a maximum radius that is beyond all
1200 proceeds to block 1220 (FIG. 12C).                                   boundaries of the geospatial region. One skilled in the rel
  If, however, at decision block 1232, the minimum move              10   evant art will appreciate that the contours of boundaries of a
ment has been detected based on the set on inputs, at decision            geospatial region can be defined in terms of a radius distance
block 1234, a test is then conducted to determine whether                 plus bearing from the centroid.
criteria indicative of an in-flight transit state has been satis             Examples of two geospatial state context algorithm state
fied. In an illustrative embodiment, criteria indicative of an            diagrams were presented with regard to FIGS. 8 and 9. How
in-flight transit state can correspond to consideration of vari      15   ever, one skilled in the relevant art will appreciate, however,
ance thresholds for Velocity, distance traveled and bearing               that the specific algorithms and variables described in this
that are indicative of patterns of air travel. The criteria may           disclosure, including the example state diagrams of FIGS. 8
also include consideration of information from altimeters or              and 9 and in routine 1400 (FIG. 14) are illustrative in nature
the like. The thresholds may be determined by observed driv               and should not be construed as limiting. Accordingly, varia
ing behavior, set by an administrator or set by a particular              tions or alternatives may be implemented, such as the removal
user. If the criteria indicative of an in-flight transit state has        of one or more transit states, different progression of transit
not been satisfied, the mobile communication device context               states, and the specific criteria utilized to transition between
processing component 304 determines that the mobile com                   transit states are within the spirit and scope of the present
munication device should remain in a highway transit state                invention.
and the routine 1200 returns to block 1226.                          25     With reference to FIG. 14, at block 1402, the mobile com
  With reference now to FIG. 12E, if the criteria indicative of           munication device context processing component 304
an in-flight transit state has been satisfied, the mobile com             obtains the geospatial region definitions from the mobile
munication device context processing component 304 deter                  communication device context data store 308. The geospatial
mines that the mobile communication device is in flight.                  region definitions may be stored and maintained in a variety
Accordingly, at block 1236, the transit state is changed to an       30   of formats and storage media. Additionally, the geospatial
“in flight transit state. At block 1238, the mobile communi               region definitions may be prioritized in terms of order of
cation device context processing component 304 enters an                  processing by the mobile communication device 104. At
observation window for collecting the various inputs over a               block 1404, the mobile communication device environment
period of time, which may be a longer time period. At deci                interface 306 begins a collection window in which a geospa
sion block 1230, a test is conducted to determine whether is         35   tial Zone definition is evaluated to determine whether the
conducted to determine whether one or more in flight distance             mobile communication device 104 is within the Zone. As
variances have been exceeded. If the criteria indicative of an            described above with regard to transit state context assess
in-flight transit state has not been satisfied, the mobile com            ment algorithms, the observation window can be configured
munication device context processing component 304 deter                  such that the mobile communication device 104 collects a
mines that the mobile communication device 104 should                40   fixed number of sets as defined by an information collection
revert back to a highway travel state and the routine 1200                interval over a time period. Each time a set of inputs is
returns to block 1226 (FIG. 12D). Alternatively, if the criteria          collected a counter is decremented and the process continues
indicative of an in-flight transit state has been satisfied, the          until the targeted number of sets on inputs have been collected
mobile communication device context processing component                  (e.g., the counter is decremented to a value of “0”). Addition
304 determines that the mobile communication device 104              45   ally, if the mobile communication device environment inter
should either remain in the in flight distance transit state or           face 306 is currently not receiving inputs, or otherwise not
move to a journey terminus State. Accordingly, at decision                accepting inputs, the mobile communication device 104 may
block 1240, a test is conducted to determine whether a mini               enter a lower power consumption mode in which one or more
mum movement has been detected based on the set on inputs.                components of the mobile communication device 104
If the minimum movement has not been detected based on the           50   become inactive or enterina low power consumption mode of
set on inputs, the mobile communication device 104 is deter               operation. In turn, the mobile communication device 104 then
mined to be no longer in motion and the routine 1200 pro                  powers up, or wakes up, at the next information collection
ceeds to block 1220 (FIG. 12C). Alternatively, if minimum                 interval. The specific information collection interval imple
movement has been detected based on the set of inputs, the                mented by the mobile communication device context pro
routine 1200 remains in an in-flight transit state and the rou       55   cessing component 304 may be dependent on the granularity
tine 1200 returns to block 1236. In all the decisionalternatives          of the sensor information, the amount of input information
involving a change in transition state, the mobile communi                that should be collected for a given transit state, and/or the
cation device 104 transmits updated context information to                likelihood of a potential change in transit state. For example,
the communication management component 102 indicative                     a longer collection interval can be set for transit states in
of the change in transit state.                                      60   which variations in the set of inputs is not expected to further
   With reference now to FIG. 14, a routine 1400 imple                    conserve mobile communication device power.
mented by the mobile communication device context pro                       At block 1406, the mobile communication device context
cessing component 304 for determining mobile communica                    processing component 304 obtains mobile communication
tion device geospatial context information will be described.             location information. In an illustrative embodiment, the
In an illustrative embodiment, geospatial information may be         65   mobile communication device environment interface 306 can
defined for a geographic region. The geospatial information               obtain various sensor information indicative of a location or
can include a centroid, which corresponds to an approxima                 relative location of the mobile communication device. For
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example, the mobile communication device environment                     device context processing component 304 will then deter
interface 306 can obtain GPS information from an attached                mine whether the mobile communication device is clearly
GPS component or via wireless communication from another                 within the geospatial Zone or on the fringe of boundary of the
GPS component. In another example, the mobile communi                    geospatial Zone. At decision block 1414, a test is conducted to
cation device environment interface 306 can interface with a             determine whether the distance is less than the minimum
vehicle's navigation system to obtain location information. In           radius defined for the geospatial Zone. If so, at block 1416, the
still another example, the mobile communication device envi              mobile device's current context is inside the geospatial Zone.
ronment interface 306 can interface with wireless communi                The routine 1400 then proceeds to block 1418.
cation equipment, Such as cellular base stations, wireless                 At block 1418, the mobile communication device 104 must
network nodes (e.g., WiFi and WiMax network nodes), and             10   transmit updated context information if a context state has
obtain location information. Additionally, the sensor infor              changed. Accordingly, if the mobile communication device
mation can include accelerometers and compass information                has not changed from outside the geospatial Zone (block
that facilitates a bearing or direction of the mobile commu              1412) or within the geospatial Zone (block 1416), no update
nication device.                                                         will be provided. At block 1420, the interval for collection of
  In an additional embodiment, and as illustrated in FIG. 9,        15   location information and the evaluation of the proximity to
the mobile communication device environment interface 306                the geospatial Zone will be decreased (or verified to be at a
can associate location meta data with known signals from                 lower level). In either the case of clearly outside the geospa
wireless transmitters such that a detection of a signal can              tial Zone or clearly within the geospatial Zone, the likelihood
provide an indication to the mobile communication device                 of a Sudden change in context decreases. For example, for a
environment interface 306 of the relative location of a mobile           geospatial Zone corresponding to an entire city, the frequency
communication device 104. As explained above with regard                 in which the mobile device would detect a change corre
to FIG. 12, as a mobile communication device 104 travels,                sponding to being detected outside the citywide geospatial
signals from specific transmitters are detected when the                 Zone would likely below. Accordingly, the collection interval
mobile communication device is within range of the trans                 could be adjusted in an effort to mitigate power drain associ
mitter and no longer detected when the mobile communica             25   ated with the collection and processing of the sensor infor
tion device is beyond the range of the transmitter. In embodi            mation. The routine 1400 then returns to block 1404 for
ments in which the mobile device detects signals from the                continued collection and processing of the information at the
same wireless transmitters, the mobile communication                     next collection interval.
device environment interface 306 can associate location meta                Turning again to decision block 1414, if the distance is not
data obtained from another location source (such as a GPS           30   less than the minimum radius defined for the geospatial Zone,
component) to the information indicative of the wireless                 the mobile communication device 104 is likely just within the
transmitter, such as a WiFi SSID. Accordingly, in conjunction            boundary of the geospatial Zone or just outside the boundary
with the known range of the wireless transmitter, the mobile             of the geospatial Zone. Accordingly, the mobile communica
communication device environment interface 306 can esti                  tion device context processing component 304 can then deter
mate range, associate the location meta data as the approxi         35   mine with the mobile communication device 104 falls within
mate location of the mobile communication device 104 for                 or just without. If the determined context is a change from a
purposes of evaluating context according geospatial Zones.               previous context, at block 1422, the updated context informa
  For purposes of power consumption, the mobile commu                    tion is transmitted to the communication management com
nication device environment interface 306 can monitor vari               ponent 102. At block 1424, the collection interval is increased
ous location sensors/inputs. The mobile communication               40   (or verified to be at a higher level). In the case of neither
device environment interface 306 can prioritize or rank the              clearly outside the geospatial Zone or clearly within the
location information Sources based on various factors, includ            geospatial Zone, the likelihood of a Sudden change in context
ing degree of confidence in the accuracy of the location infor           increases. Because of the potential for more likely changes in
mation, power consumption associated with collecting the                 context, the interval for collection is increased. The routine
location data, financial or service contractissues, and the like.   45   1400 then returns to block 1404 for continued collection and
For example, assume that a mobile communication device                   processing of the information at the next collection interval.
environment interface 306 has previously stored location                   Communications Management Component Operation
information for a known WiFi wireless node in Metadata in                  With reference now to FIG. 15, a routine 1500 imple
the manner described above. Although location information                mented by the communication processing component 204 to
may also be available for an attached GPS component, opera          50   manage communications associated with a mobile commu
tion of the GPS component consumes much more device                      nication device 104 will be described. At block 1502, the
power. Accordingly, the mobile communication device envi                 mobile communication device interface component 202
ronment interface 306 could choose to receivefuse location               receives mobile communication device context information
information from a source with the least power consumption               from the mobile communication device 104. The mobile
metrics.                                                            55   communication device context information corresponds to
   With reference again to FIG. 14, at block 1408, the mobile            processed inputs and is indicative of the mobile communica
communication device context processing component 304                    tion device context. Although not limiting, examples of illus
calculates the distance and bearing of the current location of           trative context assessment algorithms/processes were
the mobile device to the centroid of geospatial Zone. At deci            described with regard to FIGS. 5-9, 12, and 14. The context
sion block 1410, a test is conducted to determine whether the       60   information may require additional processing by the com
distance to the centroid is outside of the maximum radius                munication management system 102. As previously dis
defined for the geospatial Zone. If so, at block 1412, the               cussed, the mobile device communication component 202
mobile device's current context is outside the geospatial                may utilize any number of communication channels to
Zone. The routine 1400 then proceeds to block 1418, which                receive the context information from the mobile communica
will be described below.                                            65   tion device 104. Additionally, in the event that the context
   Ifat decision block 1410, the distance to the centroid is not         information corresponds to updated context information,
outside the maximum radius, the mobile communication                     especially if the mobile communication device is presently in
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an established communication channel, the mobile device                 ing component 204 has utilized a profile that is applicable to
communication component 202 may utilize alternative com                 all users, the device availability may be quickly determined
munication channels.                                                    based on the prior processing. If, however, the mobile com
   At block 1504, the communication processing component                munication device profiles specifies availability based on the
204 obtains mobile communication device profile informa                 identity of some third parties, the communication processing
tion from the mobile communication device profile store 210.            component 204 looks up the specific availability of the user or
The mobile communication profile data store 210 can corre               groups of users.
spond to a database that identifies different mobile commu                 To facilitate the processing of availability information
nication device profiles according to different mobile com              according to an identified user or groups of users, the com
munication device context. For example, a mobile                   10   munication processing component 204 can utilize a fast
communication device may have a profile for each defined                lookup routing table that sorts availability by the user's iden
geospatial region and transit state. In this illustrative embodi        tity, such as phone number or IP address. In this embodiment,
ment, the profile defines the availability for communication            the data is sorted by number. As the communication process
channels for all incoming communication channel requests.               ing component 204 selects a first identifier in the identity,
In an alternative embodiment, the mobile communication             15   Such as the first digit of the phone number, any entries in the
device profile data store may maintain additional or Supple             table not having the matching numbers collapse. This process
mental profiles that define availability for various mobile             would continue for each additional digit that is provided. One
communication device contexts according to particular or                skilled in the relevant art will appreciate that individual users
identifiable users or groups of users. In this embodiment, the          may be represented by full identities. Additionally, the rout
profile information can correspond to a routing table that              ing table may also limit the number of identifiers (e.g., digits)
identifies availability according to context information with           as necessary to distinguish one user from another. For
an identifiable user.                                                   example, if the routing table has four users that have a match
   At block 1506, the communication processing component                ing area code and that have different third digits in their phone
204 determines the communication channel availability                   numbers, the routine table may limit entries to the area code
according to the profile information obtained at block 1504.       25   and the first three digits and need not enter the entire area
The availability information may be determined upon receipt             code. Likewise, for groups of users (such as an office), the
of the context information and/or may be updated upon                   entries for the entire group may be limited to the identifying
receipt of updated context information. Additionally, if a              information from the organization (Such as the first set of
communication channel is not already established, the avail             digits from an IP address).
ability is determined prior to receiving a request for establish   30      With continuing reference to FIG. 15, if the mobile com
ing a communication channel from either the mobile commu                munication device 104 has been determined to be available, at
nication device 104 or a third party communication device               block 1512, the mobile service provider communication com
112. Still further, the communication manage component 102              ponent 208transmits an authorization to the mobile switching
can also receive additional information from additional third           center 108. In the event that the routine 1500 is being imple
party information sources for processing the profile to deter      35   mented for an existing communication channel, block 1512,
mine availability. For example, the communication manage                may be omitted. The routine 1500 returns to block 1502.
ment system can interface with network resources, such as                 Alternatively, if it has been determined that mobile com
calendaring applications or interfaces, to receive user calen           munication device 104 is not available, at block 1514, the
daring information for an identified period of time. In this            mobile service provider communication component 208
example, the calendaring information may be applied to a           40   transmits a rejection or termination message to the mobile
profile indicating communication channel availability based             switching center 108. In an illustrative embodiment, the
on categories of appointments (e.g., unavailability for a com           rejection notice may have an immediate effect that prevents
munication channel based on meetings with a “High Priority”             the establishment of a communication channel. In another
label). Additionally, the calendaring information may be uti            embodiment, the termination notice may include a time to
lized by the communication management system in the selec          45   allow for a time period of continued communication prior to
tion of communication mitigation options.                               termination. The communication processing component 204
   At block 1508, the mobile service provider communication             may select the time period according to the context informa
component 208 obtains a notification of a request to establish          tion and the immediacy of the determined need for termina
a communication channel. The notification can include a                 tion. At block 1516, the communication processing compo
request to provide authorization for establishing the              50   nent 206 processes the communication mitigation and the
requested communication channel. Alternatively, the notifi              routine 1500 returns to block 1502.
cation can include an indication that the communication                    Communication Mitigation
channel will be initiated by default unless the communication              In an illustrative embodiment, the communication mitiga
management system 102 provides an indication that the com               tion for a rejected or terminated communication channel can
munication channel should not be established. Additionally,        55   be specified in a mobile communication device profile. As
the request to initiate the communication can include addi              discussed above, the profile may be described with regard to
tional information regarding the identity or properties of the          all users, groups of users and/or specific users. In an illustra
other party to the requested communication channel and that             tive embodiment, the communication mitigations can include
can be utilized to determine establish appointments for the             immediate alternative communication channels/methods,
user of the mobile device. FIG. 16 is a block diagram illus        60   Such as a redirection to a Voicemail system, a text to speech
trative of communication channel session state diagram                  message processing system, the launching of an SMS service
implemented by a communication management component                     or email service, a redirection to an identified backup caller
for managing communication channel requested.                           (such as an operator or an assistant), and the like.
   Returning to FIG. 15, at decision block 1510, the commu                 In another embodiment, the communication mitigation
nication processing component 204 performs a test to deter         65   corresponds to delayed mitigation techniques that reestablish
mine whether the mobile communication device is available.              the requested or existing communication channel upon a
In an illustrative embodiment, if the communication process             determined availability. For example, the user of the mobile
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device 104 or the third party communication device 112 can              Zone as part of the context assessment algorithm, and/or may
request a callback or new communication channel upon a                  periodically communicate Such estimates (or significant
change of mobile device context that results in the availability        changes thereto) to the communication management system
of the mobile communication device. The request can include             102.
a time component or other information for specifying the                  Provisioning of Mobile Communication Device Profiles
expiration of the request or availability for the requested               With reference now to FIG. 17, an illustrative screen dis
callback. Additionally, the request can include additional              play 1700 indicative of a user interface for provisioning
information Such as calendaring information for scheduling              mobile communication device profiles will be described. In
the requested communication channel. Additionally, the cal              an illustrative embodiment, the screen display 1700 may be
endaring information may be utilized to select which com           10   generated by the mobile communication device 104 or a user
munication mitigation technique may be available.                       at a computing device 116. The provisioning may correspond
   In still a further embodiment, the communication mitiga              to administrator level policies set forth by enterprises, service
tion techniques can include the specification of immediate              provider or authorities. Additionally, the provisioning may
actions to be taken by the communication management sys                 correspond to policies set forth by additional identified users,
tem 102. In one example, a user of the mobile communication        15   such as parents. One skilled in the relevant art will appreciate
device 102 can request an override of the determined unavail            that any number of interfaces may be generated. Additionally,
ability of the mobile device. In another example, a third party         various interfaces may be configured to correspond to the
associated with the communication device 112 can request a              display capabilities and/or requirements of the device gener
page channel to the user of the mobile device 104 to requestan          ating the display. Additionally, various interfaces may be
override. In a further example, a third party associated with           presented according to the defined context.
the communication device 112 can request an emergency                      With reference to FIG. 17, the screen display 1700 can
breakthrough to establish the requested communication chan              include a first section 1702 for specifying a profile for par
nel with the mobile communication device. In still a further            ticular type of context information. As illustrated in FIG. 17.
example, either the user associated with the mobile commu               the section 1702 specifies that availability information is
nication device 104 or the third party user associated with the    25   being defined for one or more geospatial Zones. The section
communication device 112 can request from several pre                   1702 may correspond to a number of available context infor
defined messages to be played to the other users (such as a             mation categories, such as a pick list or a drop down box. As
predetermined message requesting a driver to pull over to be            also illustrated in FIG. 17, the screen display can include a
able to take a call). In still a further embodiment, the commu          map overlay section 1704 for provisioning the boundaries of
nication processing component 204 may initiate a timer or          30   the geospatial Zone. The overlay section can correspond to
counter that specifies a time limit for the user of the mobile          map information published by the communication manage
device 104 to change the environment prior to the termination           ment system 172 or additional third parties. For example, the
of an established communication channel or to allow for the             overlay section 1704 may be an existing street map that
initiation of the established communication channel.                    includes icons indicative of well known or specified estab
   In yet another embodiment of communication channel              35   lishments. In an illustrative embodiment, the geospatial Zones
mitigation techniques, the communication processing com                 may default to a selection of communication unavailability
ponent 204 can implement additional notifications to the par            within the geospatial Zone. Alternatively, a user may be able
ties requesting the communication channel or involved in an             to specify the availability for the geospatial region based on
existing communication channel. The notification can                    context information or specific users or groups of users.
include a specification of the available alternative mitigation    40      The screen interface 1700 can further include any number
options (described above), an explanation of why the com                of graphic indicators of geospatial Zones 1706, 1708 that will
munication channel was not authorized or is to be terminated            define the boundaries of the geospatial Zones. In an illustra
and/or details regarding the timing for the termination of an           tive embodiment, the graphic indicators may be generated via
existing communication channel. For example, when the                   various drawing tools provided on the interface 1700. In
communication management system 102 routes an incoming             45   another embodiment, the graphic indicators may be gener
call to Voicemail as the result of unavailability (e.g., the            ated by the indication of the coordinates of endpoints and
callee's mobile device is in an “in transit/city' context), an          intersections of the boundaries. In still a further embodiment,
outgoing message may be played to the third party commu                 the interface 1700 may be provisioned with predefined
nication device 112. Different messages (which may but need             geospatial boundaries that have been provided by the com
not be prerecorded by the callee) may be played or generated       50   munication management system 102 and/or published by
depending upon whether the context is “in transit/city.” “in
                                                         99 &
                                                                        other users.
transit/highway,” “in meeting.” “in geospatial Zone.” “on the             In another embodiment, the geospatial boundaries can be
phone.” etc. Further, the communication management system               generated by the entry of location coordinates by the user via
102 may output an auto-generated audible message to the                 a mobile device 104. In this embodiment, a user can utilize
caller with information about the expected or estimated future     55   location information, such as GPS information, to indicate
availability of the mobile communication device user. For               the coordinates of geospatial boundaries when the mobile
instance, if imported calendar information indicates that the           device is at the coordinates. For example, the user can select
mobile communication device user is in a meeting, the miti              a control or provide data via the mobile device to indicate the
gation component 206 may output an audible message indi                 location of the boundaries.
cating (1) the scheduled end time of, or number of minutes         60      With continued reference to FIG. 17, as previously
remaining in, the meeting, and (2) the amount of free time              described, the profile information may also be specified for
until the next meeting. As another example, if the mobile               specific users or groups of users. In accordance with an alter
communication device user is in a geospatial Zone, the auto             native embodiment, the screen interface can include a repre
generated message may indicate an estimated amount of time              sentation of users or individuals as a set of icons 1717 that can
until the mobile communication device is predicted to exit the     65   be manipulated to selection the application of a geospatial
geospatial Zone. The mobile communication device 104 may                Zone and selected availability. For example, a user can
generate Such estimates automatically while in a geospatial             manipulate the icons 1710 via a drag and drop technique to
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                                                       US 8,948,784 B2
                               31                                                                      32
apply a geospatial boundary and associated availability by               may adjust the determination of availability in the event that
dropping the icon on the selected geospatial Zone or vice                the anticipated time of the communication channel cannot be
versa. The screen interface 1700 may also include a section              completed. Thus, in the above example, the communication
1712 in which a user can specify a type of communication                 processing component 204 can determine that the user will
mitigation technique to be applied in the event of unavailabil      5    likely be entering a geospatial Zone based on a current Veloc
ity. As illustrated in FIG. 17, a communication forward miti             ity and bearing. Additionally, because of learned behaviors or
gation technique has been specified.                                     historical knowledge, the communication processing compo
   FIG. 18 is a block diagram illustrative of a screen display           nent 204 can anticipate that the length of the audio commu
1800 of a user interface for obtaining mobile communication              nication and will require the communication channel to be
device profile information for managing mobile communica            10   terminated when the mobile communications device enters
tion device availability based on mobile communication                   the geospatial Zone. Accordingly, the communication pro
device context information. The screen display 1800 facili               cessing component 204 may choose, based on its own con
tates the specification and management of profiles for indi              figurations or a configuration specified by the user, to not
viduals or groups of individuals. As illustrated in FIG. 18, the         authorize the communications channel and offer a selection
screen display 1800 corresponds to a display of geometric           15   of communication mitigation approaches.
shapes (e.g., circles) that correspond to determined availabil              In another example, the communication processing com
ity based context information. Display objects corresponding             ponent 204 can monitor a user's repeated selection of com
to identified individuals can be placed in the geometric shapes          munication mitigation techniques as part of an interactive
to associate the identified individual with the determined               Voice response as a function of an identified user or a specific
availability. Information identified individuals may corre               mobile device context. Accordingly, the communication pro
spond to information obtained from a network resource. Such              cessing component 204 may update applicable mobile com
as a contact list. The association is stored in the mobile device        munication device profiles in view of a number of predeter
profiles. Additionally, Summaries of the associations can be             mined selections of communication mitigation techniques.
displayed in the screen display 1800.                                       In still another example, the communication processing
  Additional Embodiments                                            25   component 204 can monitor a determination of repeated
  In accordance with still another illustrative embodiment,              unavailability according to a time of day or other identified
the communications management component 102 may uti                      event. Accordingly, the communication processing compo
lize learned behaviors or predictive behaviors to provision the          nent 204 may update applicable mobile communication
mobile communication device profiles and/or to determine                 device profiles in view of a number of determinations such
the availability of the mobile communication device 104. In         30   that a profile can specify automatically specify unavailability
accordance with this embodiment, communications manage                   as a function of the determined time of day or event. For
component 102 may track various behaviors or mobile com                  example, if a mobile communication device 104 is deter
munication device usage in the mobile communications                     mined to be unavailable every for two consecutive weeks at
device profile data store 210. For example, the communica                the same time, the communication processing component
tions management component 102 may track the length of              35   204 may update a profile to make the unavailability determine
audio conversations between specific users or groups of users.           a function of time.
In another example, the communications management com                      In yet a further example, communication processing com
ponent 102 may also track the timing of requests for commu               ponent 204 can monitor a number of communication requests
nication channels on a daily, weekly or monthly basis. In still          from a previously unidentified third party communication
a further example, the communication management system              40   device 112 or for a communication device that is not associ
102 may track previous determined unavailability to generate             ated with a mobile communication device profile. After a
a model of availability for users based on time of day or based          number of repeated communication requests, the communi
on events. With continued reference to the example, the com              cation processing component 204 may automatically create a
munications management component 102 may associate                       mobile communication device profile or prompt a user for the
events on a calendar (Such as specific reoccurring meetings)        45   creation of the mobile communication device profile for such
with mobile communication device context information that                third party communication device. The communication pro
generates a determination of unavailability (Such as traveling           cessing component 204 can automatically populate Some or
within a defined geospatial Zone). Accordingly, a profile may            all of the aspects of the profile based on the previously moni
be provisioned Such that the communication processing com                tored activity. Additionally, it can importa template of profile
ponent 204 may utilize user calendaring function inputs to          50   information set by the user, an administrator or a service
determine unavailability in advance. Additionally, users may             provider.
be asked to identify specific, or notable events, that facilitate          In accordance with another embodiment, the context infor
the learned behavior approach.                                           mation and/or availability generated by the mobile commu
   In a related embodiment, the communication processing                 nication device 104 or the communications management
component 204 may also utilize learned behavior to adjust a         55   component 102 may be published to additional information
determination of availability. For example, assume that an               Sources/repositories, such as network resources. In one
identified user typically has audio communications with                  example, the mobile device 104 or communications manage
another user for 20 minutes or greater on a frequent basis.              ment component 102 may publish a set of the geospatial
Also assume that at current time, the mobile device is avail             Zones that a user has created. The published geospatial Zones
able for audio communication channels. However, the current         60   may be used by other system users to provision mobile com
bearing and velocity will likely place the mobile communi                munication device profiles. The published geospatial Zones
cation device 104 within a geospatial Zone defining unavail              may be utilized to describe/publish the context information
ability in the next 10 minutes of travel.                                that will be used by the communications management com
   In this embodiment, the communication processing com                  ponent 102 to determine availability.
ponent 204 can include learned behaviors to determine               65     In another embodiment, the mobile communication device
whetherit would have to likely terminate the communications              context information may be published to other information
channel. If so, the communication processing component 204               sources/repositories to publish the current or past mobile
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                              33                                                                                             34
device contexts. In one example, the mobile device context                                                      TABLE 1-continued
information can be linked with a personal Web page of a user,
Such that context information (e.g., in transit) is published on                                                 Current Context Message
the Web page. In another example, the mobile device context                           7                                           O   Description     Description
information can be linked with a calendaring function to                        5    MSB     6      S    4 3        2    1    LSB          I               II
                                                                                                         PDU 1                        Protocol Data Unit Identifier
determine whether the user is on schedule. If for example a
user remains in a city/urban transit state due to traffic condi                                     Time(0)                       1      Date
tions, Subsequent appointments may need to be rescheduled                                           Date(0)                       O      Data
or cancelled. Accordingly, a control algorithm may automati                                Message ID Identifier                  1                       Message
                                                                                10            Message No                 O        O                  Management
cally cancel meetings or provide appropriate notifications. In
still another embodiment, the determination of a proximity to
a geospatial Zone or entry into a geospatial Zone may be                                                                TABLE 2
published to a third party source to initiate additional actions
(e.g., a communication to security personnel).                                  15
                                                                                                              Current Parameters Message
  In still another embodiment, the mobile communication                               7                                           O    Description     Description
device availability information may also be published to other                       MSB     6      S    4 3        2    1    LSB           I               II
information sources/repositories. Similar to the published                                               PDU 2                        Protocol Data Unit Identifier
context information, the mobile device availability informa                                   Telephone no (O)                               Identification
tion can be linked with a personal Web page of a user, such                                   Telephone no (1)                    O              Field
that availability information (e.g., in transit) is published on                                 IP Address (O)
the Web page. In another example, the mobile device avail                                        IP Address (1)
ability information can be linked with a calendaring function                                    IP Address (2)
                                                                                                 IP Address (3)                   O
and published to allow for scheduling of current or future                                        Aegis ID(0)
events. In still a further example, the published availability                  25                Aegis ID(1)                     O
information (historical and current) may be used to generate                              Parameter Field Identifier                            Parameter
and published a model of availability. In such an embodiment,                                    Parameter 1 (O)                                 Fields
                                                                                                 Parameter 1 (3)                  O
other users may be presented with opportunities for predictive                                   Parameter 1 (O)
availability. Still further, the availability information may be                                 Parameter 2 (1)                  O
filtered according to the authorization to different users or                   30
                                                                                                 Parameter 2 (O)
classes of users.                                                                                Parameter 3 (O)                  O
                                                                                              Parameter 4 (O)
  Messaging Formats                                                                           Parameter 5 (O)                     O
  Although not limiting, the Tables 1-5 define illustrative                                Message ID Identifier                                Message
messaging formats that could be utilized by the mobile com                                    Message No                 O                   Management
munication device 104 and the communications management                         35
component 102 to exchange data. The message formats facili                                                              TABLE 3
tate communications in a variable sized data communication
protocol. One skilled in the relevant art will appreciate, how                                                  Message Acknowledgment
ever, that alternative or modified messaging formats may be
utilized in accordance with the teachings in the present dis                    40
                                                                                      7
                                                                                     MSB     6      S    4 3        2    1    LSB
                                                                                                                                  O    Description
                                                                                                                                            I
                                                                                                                                                       Description
                                                                                                                                                            II
closure. Thus, the disclosed messaging formats are illustra                                              PDU 3                        Protocol Data Unit Identifier
tive in nature and should not be construed as limiting.
                                                                                             Telephone no (O)                     1          Identification
                                    TABLE 1.                                                 Telephone no (1)                     O              Field
                                                                                              IP Address (O)                      1
                             Current Context Message                            45            IP Address (1)                      1
                                                                                              IP Address (2)                      1
  7                                       O    Description      Description                   IP Address (3)                      O
 MSB     6     S    4 3         2    1   LSB         I               II                        Aegis ID(0)                        1
                    PDU 1                       Protocol Data Unit Identifier                  Aegis ID(1)                        O
                                                                                           Message ID Identifier                  1             Message
          Telephone no (O)                             Identification           50           Message No                  1        O          Management
          Telephone no (1)                O                Field
             IP Address (O)
             IP Address (1)
             IP Address (2)                                                                                             TABLE 4
             IP Address (3)               O
             System ID(O)                                                       55                              Message Affirm/Response
             System ID(1)                 O
       Context Field Identifier                  Context         Context              7                                           O    Description     Description
                                                  Header           And               MSB     6      S    4 3        2    1    LSB           I               II
 MAT    G      T C A A              OR           context       Conformance                               PDU 4                        Protocol Data Unit Identifier
 MFJ    G      T C A A              OR    O    conformance        Field
 MAT    G      T C A A              OR           context
                                                                                60
                                                                                                   Telephone no (O)                          Identification
 MFJ    G      T C A A              OR    O    conformance                                         Telephone no (1)                              Field
        Data   Field Identifier                Data Header         Data                              IP Address (O)
              Latitude (O)                       Location          Field                             IP Address (1)
              Latitude (3)                O        data                                              IP Address (2)
             Longitude (O)                                                                           IP Address (3)
             Longitude (1)                O                                                           Aegis ID(O)
              Altitude(0)                        Motion                         65                    Aegis ID(1)
              Velocity(0)                 O        Data
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                                                                       US 8,948,784 B2
                                       35                                                                                        36
                                   TABLE 5                                                                            TABLE 5-continued
                 Generic Control Plane Context Management                                                  Generic Control Plane Context Management
                         Protocol for GeoFence Definition                                                          Protocol for GeoFence Definition

  7                                         O      Description        Description      5     7                                        O        Description    Description
 MSB 6     S      4     3 2        1     LSB             I               II                 MSB 6     S     4     3   2      1     LSB            I               II
                      PDU 2                        Protocol Data Unit Identifier                                PDU 2                       Protocol Data Unit Identifier

         Telephone no (O)                                 Identification                                  Bearing                     O
         Telephone no (1)                   O                 Field
          IP Address (O)                                                               10
          IP Address (1)
          IP Address (2)                                                                               Bearing N                      O
          IP Address (3)                    O                                                              Radii                      1
           Aegis ID(0)                                                                           Message ID Identifier                1                Message
           Aegis ID(1)                      O                                                       Message No               O        1              Management
     Geo Fence Identifier                                   Parameter                  15
           Latitude (O)                                       Fields                         Illustrative Application
           Latitude (3)
          Longitude (O)
                                            O                                                Although not limiting, the Tables 6-10 define illustrative
          Longitude (3)                     O                                             communication management and interaction by the various
         Maximum Radius                                                                   components of the communication management environment
         Minimum Radius                                                                   200. One skilled in the relevant art will appreciate, however,
               Bearing 1                    O                                          20 that the present disclosure is in no way limited to the
                 Radii                                                                    described applications and that alternative applications may
               Bearing 2                    O                                             be provided in accordance with the teachings in the present
                 Radii                                                                    disclosure. Thus, the disclosed applications are illustrative in
                                                                                          nature and should not be construed as limiting.
                                                                                                    TABLE 6
                                                                                              Usage Case Processing
                                                      Third Party                                   Communication                                    Mobile
                                                      Communication                                 Management            Mitigation                 Communication
                                        Time          Device 112            MSC 108                 Component 102         Component 103              Device 104
                                        Starting                                                    Current context =
                                        Status                                                      unconditional

                                                                                                    Communication
                                                      Third Party                                   Management                                       Mobile
                                                      Communication                                 Server 102            Mitigation                 Communication
                                        Time          Device 112            MSC 108                 Server                Component 103              Device 104

                                        Context                                                     Stop: step 2                                     Start; step 1
                                        Change                                                      Current context=                                 Context specific
                                        Event                                                       conditional                                      behavior detected
                                                                                                    Conditions =                                     and confirmed
                                                                                                    mediated                                         Context = F(driving,
                                                                                                                                                     location, time of
                                                                                                                                                     day, calendar, user
                                                                                                                                                     engaged privacy)
                                                                                                                                                     send context
                                                                                                                                                     update message to
                                                                                                                                                     Communication
                                                                                                                                                     Management
                                                                                                                                                     Server 102 Server

                                                      Third Party                                   Communication                                    Mobile
                                                      Communication                                 Management            Mitigation                 Communication
                                        Time          Device 112            MSC 108                 Component 102         Component 103              Device 104
                                        Basic    Start; step 1              Step 2                  Step3                 Step 4
                                        Call     External call to           MSC 108 receives        Communication         IVR sequence
                                        Handling client initiated           call establishment      Management            informs caller that
                                                                            request and sends       Component 102         the mobile user is
                                                                            routing request         responds and          currently unavailable
                                                                            query to                informs the      and the following
                                                                            Communication           MSC 108 that the options are available
                                                                            Management              call should be   1. Voice mail
                                                                            Component 102           routed to the    2. Automated call
                                                                                                    Mitigation            back upon
                                                                                                    Component 103      when mobile
                                                                                                    for call mediation available
                                                                                                    since              3. Page to request
                                                                                                    current context =     call acceptance
                                                                                                    conditional           4. immediate
                                                                                                    conditions =          emergency call
                                                                                                    mediation             establishment
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                                                                 US 8,948,784 B2
                                     37                                                                                    38
                                                TABLE 6-continued
                                                 Usage Case Processing
Context                                               Step 9                                           Step 8
Change                                                Current context=                                 Cessation of
Event                                                 conditional                                      driving behavior
                                                      Conditions =                                     detected and
                                                      unconditional                                    confirmed
                                                                                                       send context
                                                                                                       update message to
                                                                                                       Communication
                                                                                                       Management
                                                                                                       Component 102


                                                          TABLE 7
                                          Network Originated Driving Usage Cases
           Third Party                                      Communication                                  Mobile
           Communication                                    Management           Mitigation                Communication
Time       Device 112                MSC 108                Component 102        Component 103             Device 104
Starting                                                    Current context =
Status                                                      unconditional

           Third Party                                      Communication                                  Mobile
           Communication                                    Management           Mitigation                Communication
Time       Device 112                MSC 108                Component 102        Component 103             Device 104

Context                                                     Stop: step 2                                   Start; step 1
Change                                                      Current context =                              Driving behavior
Event                                                       conditional                                    detected and
                                                            Conditions =                                   confirmed
                                                            driving                                        send context
                                                                                                           update message
                                                                                                           to
                                                                                                           Communication
                                                                                                           Management
                                                                                                           Component 102
           Third Party                                      Communication                                  Mobile
           Communication                                    Management           Mitigation                Communication
Time       Device 112                MSC 108                Component 102        Component 103             Device 104

Basic      Start; step 1             Step 2                 Step3                Step 4
Call       External call to client   MSC 108 receives       Communication        IVR sequence
Handling   initiated                 call establishment     Management           informs caller that the
                                     request and sends      Component 102        mobile user is driving
                                     routing request        responds and         and the following
                                     query to               informs the call     options are available
                                     Communication          should be routed     5. Voice mail
                                     Management             to the Mitigation    6. Automated call
                                     Component 102          Component 103        back upon at
                                                            for call mediation   journey end
                                                            since                7. Page driver to
                                                            current context =    pull over to take
                                                            conditional          the call
                                                            conditions =         8. immediate
                                                            driving              emergency call
                                                                                 establishment
           Step 5                                                                Stop: Step 6
           Third Party                                                           Call terminated via
           Communication                                                         voice mail and caller
           Device 112 requests                                                   informed of mobiles
           voice mail                                                            driving status
           Third Party                                      Communication                                  Mobile
           Communication                                    Management           Mitigation                Communication
Time       Device 112                MSC 108                Component 102        Component 103             Device 104
Basic      Start; step 1             Step 2                 Step3                Step 4
Call       External call to client   MSC 108 receives       Communication        IVR sequence
Handling   initiated                 call establishment     Management           informs caller that the
                                     request and sends      Component 102        mobile user is driving
                                     routing request        responds and         and the following
                                     query to               informs the call     options are available
                                     Communication          should be routed     9. Voice mail
                                     Management             to the Mitigation    10. Automated
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                                                                US 8,948,784 B2
                                     39                                                                                   40
                                                 TABLE 7-continued
                                          Network Originated Driving Usage Cases
                                     Component 102        Component 103          call back upon
                                                          for call mediation     at journey end
                                                          since                  11. Page
                                                          Current context =      driver to pull
                                                          conditional            over to take the
                                                          conditions =           call
                                                          driving                12. Immediate
                                                                                 emergency call
                                                                                 establishment
           Step 5                                         Step 7                 Step 6
           Third Party                                    Aegis server           Call terminated via
           Communication                                  queues pending         IVR
           Device 112 requests                            call request           caller informed of
           automated call back                                                   mobiles driving status
           upon journey                                                          callers call back
           termination                                                           request
                                                                                 acknowledged
                                                                                 call back request sent
                                                                                 to Communication
                                                                                 Management
                                                                                 Component 102
Context                                                   Step 9                                           Step 8
Change                                                    Current context =                                Cessation of
Event                                                     conditional                                      driving behavior
                                                          Conditions =                                     detected and
                                                          unconditional                                    confirmed
                                                                                                           send context
                                                                                                           update message
                                                                                                           to
                                                                                                           Communication
                                                                                                           Management
                                                                                                           Component 102
           Stop: step 11                                  Step 10                                          Stop: step 11
           Caller connected to                            Communication                                    Mobile connected
           mobile                                         Management                                       to caller
                                                          Component 102
                                                          initiates bi-lateral
                                                          call establishment
                                                          request to mobile
                                                          and originating
                                                          caller Id

           Third Party                                    Communication                                    Mobile
           Communication                                  Management             Mitigation                Communication
Time       Device 112                MSC 108              Component 102          Component 103             Device 104

Basic      Start; step 1             Step 2               Step3                  Step 4
Call       External call to client   MSC 108 receives     Communication          IVR sequence
Handling   initiated                 call establishment   Management             informs caller that the
                                     request and sends    Component 102          mobile user is driving
                                     routing request      responds and           and the following
                                     query to             informs the call       options are available
                                     Communication        should be routed       13. Voice mail
                                     Management           to the Mitigation 14. Automated call
                                     Component 102        Component 103 back upon at
                                                          for call mediation journey end
                                                          since              15. Page driver to
                                                          Current context = pull over to take
                                                          conditional            the call
                                                          conditions =           16. Immediate
                                                          driving                emergency call
                                                                                 establishment
           Step 5                                         Step 7                 Step 6                    Step 8
           Third Party                                    Aegis server           Call establishment        Mobile
           Communication                                  sends pull over        request is placed on      Communication
           Device 112 requests                            page request to        hold, caller informed     Device 104 rings
           page to request                                Mobile                 pull over request is in   in unique manner
           driver to pull over                            Communication          progress                  (ring tone) to
                                                          Device 104             Pull over page            identify driving
                                                                                 request sent to           pull over request
                                                                                 Communication             and call on hold
                                                                                 Management
                                                                                 Component 102
Context                                                   Step 10                                          Step 9
Change                                                    Current context =                                Cessation of
Event                                                     conditional                                      driving behavior
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                                                                    US 8,948,784 B2
                                      41                                                                                        42
                                                     TABLE 7-continued
                                              Network Originated Driving Usage Cases
                                                               Conditions =                                     detected and
                                                               unconditional                                    confirmed
                                                                                                                send context
                                                                                                                update message
                                                                                                                to
                                                                                                                Communication
                                                                                                                Management
                                                                                                                Component 102
           Stop: step 12                                       Step 11                                          Stop: step 12
           Caller connected to                                 Communication                                    Mobile connected
           mobile                                              Management                                       to caller
                                                               Component 102
                                                               completes
                                                               pending call
                                                               establishment
                                                               request to mobile
                                                               from originating
                                                               caller Id

           Third Party                                         Communication                                    Mobile
           Communication                                       Management           Mitigation                  Communication
Time       Device 112                  MSC 108                 Component 102        Component 103               Device 104

Basic      Start; step 1               Step 2                  Step3                Step 4
Call       External call to client     MSC 108 receives        Communication        IVR sequence
Handling   initiated                   call establishment      Management           informs caller that the
                                       request and sends       Component 102        mobile user is driving
                                       routing request         responds and         and the following
                                       query to                informs the call     options are available
                                       Communication           should be routed     17. Voice mail
                                       Management              to the Mitigation 18. Automated call
                                       Component 102           Component 103 back upon at
                                                               for call mediation journey end
                                                               since              19. Page driver to
                                                               Current context = pull over to take
                                                               conditional          the call
                                                               conditions =         20. Immediate
                                                               driving              emergency call
                                                                                    establishment
           Step 5                                              Step 7               Step 6                      Step 8
           Third Party                                         Communication        Call establishment          Mobile
           Communication                                       Management           request is placed on        Communication
           Device 112 requests                                 Component 102        hold                        Device 104 rings
           immediate                                           completes            Immediate call              in unique manner
           emergency call                                      pending call         establishment               (ring tone) to
           establishment                                       establishment        request sent to             identify
                                                               request to mobile Communication                  emergency
                                                               from originating Management                      connection
                                                               caller Id         Component 102                  request and call
                                                                                                                on hold
           Stop: step 10                                       Step 9                                           Stop: step 10
           Caller connected to                                 Current context =                                Mobile connected
           mobile                                              conditional                                      to caller
                                                               Conditions =
                                                               conditional
                                                               Conformance =
                                                               non compliant

                                                            TABLE 8
                              Mobile Communication Device 104 Orientated Driving Usage Cases
           Third Party                                    Communication                                       Mobile
           Communication                                  Management                  Mitigation              Communication
Time       Device 112                MSC 108              Component 102               Component 103           Device 104

Starting                                                  Current context=
Status                                                    unconditional
           Step 3                    Step 2               Step 4                                              Start; step 1
           Called party              MSC 108 routes       Communication                                       Mobile
           terminates and            call establishment Management                                            Communication
           establishes call          request            Component 102                                         Device 104 initiates
                                                          records                                             call establishment
                                                          Current context=                                    request
                                                          unconditional & call in
                                                          progress
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                                                                US 8,948,784 B2
                                    43                                                                                44
                                                TABLE 8-continued
                             Mobile Communication Device 104 Orientated Driving Usage Cases
Context                                              Step 6                                      Step 5
Change                                               Current context=                            Driving behavior
Event                                                conditional                                 detected and
                                                     Conditions = driving &                      confirmed
                                                     call in progress                            send context
                                                     Conformance = non                           update message to
                                                     compliant                                   Communication
                                                                                                 Management
                                                                                                 Component 102
Basic      Step 8, stop                              Step7                                       Step 8, stop
Call       Call cessation                            Communication                               Call cessation
Handling request received                            Management                                  request received
           from                                      Component 102                               from
           Communication                             responds and injects                        Communication
           Management                                audio driving                               Management
           Component 102                             notification into call                      Component 102
                                                     pathway for both
                                                     parties
                                                     Request voluntary call
                                                     termination
                                                     Conditions = driving &
                                                     call in progress
                                                     Conformance = non
                                                     compliant
                                                     Compliance timer set
                                                     for max call duration
Optional   Step 10, stop                             Step 9, Optional                            Step 10, stop
Call       Audio call                                Compliance timer                            Audio call
Handling termination received                        expires                                     termination
           Call terminates                           Communication                               received
                                                     Management                                  Call terminates
                                                     Component 102 injects
                                                     audio call termination
                                                     pending warning
                                                     Communication
                                                     Management
                                                     Component 102
                                                     terminates call between
                                                     Mobile Communication
                                                     Device 104 and caller

           Third Party                               Communication                               Mobile
           Communication                             Management                Mitigation        Communication
Time       Device 112              MSC 108           Component 102             Component 103     Device 104



                                                       TABLE 9
                                                  Geospatial Usage Cases
           Third Party                                    Communication                              Mobile
           Communication                                  Management             Mitigation          Communication
Time       Device 112                MSC 108              Component 102          Component 103        Device 104
Starting                                                  Current context =
Status                                                    unconditional

           Third Party                                    Communication                              Mobile
           Communication                                  Management             Mitigation          Communication
Time       Device 112                MSC 108              Component 102          Component 103        Device 104
Context                                                   Stop: step 2                                Start; step 1
Change                                                    Current context =                          Geo-Zone
Event                                                     conditional                                detected and
                                                          Conditions =                               confirmed that
                                                          geo Zone                                   Mobile
                                                                                                     Communication
                                                                                                     Device 104 is
                                                                                                     contained within
                                                                                                     a defined geo
                                                                                                      ZOile
                                                                                                     send context
                                                                                                     update message
                                                                                                     to
                                                                                                     Communication
                                                                                                     Management
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                                                                  US 8,948,784 B2
                                     45                                                                                46
                                                  TABLE 9-continued
                                                   Geospatial Usage Cases
                                                                                                          Component 102
           Third Party                                    Communication                                   Mobile
           Communication                                  Management               Mitigation             Communication
Time       Device 112                MSC 108              Component 102            Component 103          Device 104

Basic      Start; step 1             Step 2               Step3                    Step 4
Call       External call to client   MSC 108 receives     Communication            IVR sequence
Handling   initiated                 call establishment   Management               informs caller that
                                     request and sends    Component 102            the mobile user is
                                     routing request      examines the caller      currently
                                     query to             ID to determine if the   unavailable and
                                     Communication        call can be              the following
                                     Management           immediately              options are
                                     Component 102        connected or if the      available
                                                          call should be           1. Voice mail
                                                          mediated                 2. Automated call
                                                          If mediation is          back upon exit
                                                          selected the             from geo-Zone
                                                          Communication            3. Immediate
                                                          Management               emergency call
                                                          Component 102            establishment
                                                          routes the call
                                                          establishment
                                                          request call to the
                                                          Mitigation
                                                          Component 103
                                                          Current context =
                                                          conditional
                                                          conditions = geo
                                                          ZOile
           Step 5                                                                  Stop: Step 6
           Third Party                                                             Call terminated via
           Communication                                                           voice mail and
           Device 112 requests                                                     caller informed of
           voice mail                                                              mobiles
                                                                                   unavailable status

           Third Party                                    Communication                                   Mobile
           Communication                                  Management               Mitigation             Communication
Time       Device 112                MSC 108              Component 102            Component 103          Device 104

Basic      Start; step 1             Step 2               Step3                    Step 4
Call       External call to client   MSC 108 receives     Communication            IVR sequence
Handling   initiated                 call establishment   Management               informs caller that
                                     request and sends    Component 102            the mobile user is
                                     routing request      examines caller ID to    driving and the
                                     query to             determine if the call    following options
                                     Communication        can be immediately       are available
                                     Management           connected or if the      1) Voice mail
                                     Component 102        call should be           2) Automated call
                                                          mediated                 back exit from geo
                                                          If mediation is          ZOile
                                                          required the             3) Immediate
                                                          Communication            emergency call
                                                          Management               establishment
                                                          Component 102
                                                          routes the call
                                                          establishment
                                                          request call to the
                                                          Mitigation
                                                          Component 103
                                                          Current context =
                                                          conditional
                                                          conditions = geo
                                                          ZOile
           Step 5                                         Step 7                   Step 6
           Third Party                                    Aegis server queues      Call terminated via
           Communication                                  pending call request     IVR
           Device 112 requests                                                     caller informed of
           automated call back                                                     mobiles clients
           mobile availability                                                     location limitations
                                                                                   Status
                                                                                   callers call back
                                                                                   request
                                                                                   acknowledged
                                                                                   call back request
                                                                                   Sent to
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                                                                  US 8,948,784 B2
                                     47                                                                                   48
                                                  TABLE 9-continued
                                                   Geospatial Usage Cases
                                                                                      Communication
                                                                                      Management
                                                                                      Component 102
Context                                                   Step 9                                             Step 8
Change                                                    Current context =                                  Geo-Zone
Event                                                     conditional                                        vacated, event
                                                          Conditions =                                       detected and
                                                          unconditional                                      confirmed
                                                                                                             send context
                                                                                                             update message
                                                                                                             to
                                                                                                             Communication
                                                                                                             Management
                                                                                                             Component 102
           Stop: step 11                                  Step 10                                            Stop: step 11
           Caller connected to                            Communication                                      Mobile
           mobile                                         Management                                         connected to
                                                          Component 102                                      caller
                                                          initiates bi-lateral call
                                                          establishment
                                                          request to mobile and
                                                          originating caller Id
           Third Party                                    Communication                                      Mobile
           Communication                                  Management                  Mitigation             Communication
Time       Device 112                MSC 108              Component 102               Component 103          Device 104

Basic      Start; step 1             Step 2               Step3                       Step 4
Call       External call to client   MSC 108 receives     Communication               IVR sequence
Handling   initiated                 call establishment   Management                  informs caller that
                                     request and sends    Component 102               the mobile user is
                                     routing request      examines the caller         unable to accept
                                     query to             ID to determine if the      calls at the current
                                     Communication        call can be                 location and the
                                     Management           immediately                 following options
                                     Component 102        connected or if the         are available
                                                          call should be              1) Voice mail
                                                          mediated                    2) Automated call
                                                          If mediation is             back upon at
                                                          selected the                journey end
                                                          Communication               3) Immediate
                                                          Management                  emergency call
                                                          Component 102               establishment
                                                          routes the call
                                                          establishment
                                                          request call to the
                                                          Mitigation
                                                          Component 103
                                                          Current context =
                                                          conditional
                                                          conditions = geo
                                                          ZOile
           Step 5                                         Step 7                      Step 6                 Step 8
           Third Party                                    Communication               Call establishment     Mobile
           Communication                                  Management                  request is placed      Communication
           Device 112 requests                            Component 102               on hold                Device 104
           immediate                                      completes pending           Immediate call         rings in unique
           emergency call                                 call establishment          establishment          manner (ring
           establishment                                  request to mobile           request sent to        tone) to identify
                                                          from originating caller     Communication          connection
                                                          Id                          Management             request and call
                                                                                      Component 102          on hold
           Stop: step 10                                  Step 9                                             Stop: step 10
           Caller connected to                            Current context =                                  Mobile
           mobile                                         conditional                                        connected to
                                                          Conditions =                                       caller
                                                          conditional
                                                          Conformance = non
                                                          compliant
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                                                                  US 8,948,784 B2
                                     49                                                                                   50
                                                          TABLE 10
                                                Temporal & Calendar Meeting
           Third Party                                     Communication                                  Mobile
           Communication                                   Management               Mitigation            Communication
Time       Device 112                MSC 108               Component 102            Component 103         Device 104

Starting                                                   Current context =
Status                                                     unconditional

           Third Party                                     Communication                                  Mobile
           Communication                                   Management               Mitigation            Communication
Time       Device 112                MSC 108               Component 102            Component 103         Device 104

Context                                                    Stop: step 2                                   Start; step 1
Change                                                     Current context =                              Calendared
Event                                                      conditional                                    meeting or
                                                           Conditions =                                   private time
                                                           Private time                                   zone detected
                                                                                                          send context
                                                                                                          update message
                                                                                                          to
                                                                                                          Communication
                                                                                                          Management
                                                                                                          Component 102
           Third Party                                     Communication                                  Mobile
           Communication                                   Management               Mitigation            Communication
Time       Device 112                MSC 108               Component 102            Component 103         Device 104

Basic      Start; step 1             Step 2                Step3                    Step 4
Call       External call to client   MSC 108 receives      Communication            IVR sequence
Handling   initiated                 call establishment    Management               informs caller that
                                     request and sends     Component 102            the mobile user is
                                     routing request       examines the caller      currently
                                     query to              ID to determine if the   unavailable and
                                     Communication         call can be              the following
                                     Management            immediately              options are
                                     Component 102         connected or if the      available
                                                           call should be           1. Voice mail
                                                           mediated                 2. Automated call
                                                           If mediation is          back upon
                                                           selected the             availability
                                                           Communication            3. Immediate
                                                           Management               emergency call
                                                           Component 102            establishment
                                                           routes the call
                                                           establishment
                                                           request call to the
                                                           Mitigation
                                                           Component 103
                                                           Current context =
                                                           conditional
                                                           conditions = private
                                                           time
           Step 5                                                                   Stop: Step 6
           Third Party                                                              Call terminated via
           Communication                                                            voice mail and
           Device 112 requests                                                      caller informed of
           voice mail                                                               mobiles
                                                                                    unavailable status

           Third Party                                     Communication                                  Mobile
           Communication                                   Management               Mitigation            Communication
Time       Device 112                MSC 108               Component 102            Component 103         Device 104

Basic      Start; step 1             Step 2                Step3                    Step 4
Call       External call to client   MSC 108 receives      Communication            IVR sequence
Handling   initiated                 call establishment    Management               informs caller that
                                     request and sends     Component 102            the mobile user is
                                     routing request       examines caller ID to    not available and
                                     query to              determine if the call    the following
                                     Communication         can be immediately       options are
                                     Management            connected or if the      available
                                     Component 102         call should be           1) Voice mail
                                                           mediated                 2) Automated call
                                                           If mediation is          back when mobile
                                                           required the             is available
                                                           Communication            3) Immediate
                                                           Management               emergency call
                                                           Component 102            establishment
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                                                                 US 8,948,784 B2
                                     51                                                                                    52
                                                 TABLE 10-continued
                                                Temporal & Calendar Meeting
                                                          routes the call
                                                          establishment
                                                          request call to the
                                                          Mitigation
                                                          Component 103
                                                          Current context =
                                                          conditional
                                                          conditions = private
                                                          time
           Step 5                                         Step 7                      Step 6
           Third Party                                    Aegis server queues         Call terminated via
           Communication                                  pending call request        IVR
           Device 112 requests                                                        caller informed of
           automated call back                                                        mobiles clients not
           mobile availability                                                        available status
                                                                                      caller's call back
                                                                                      request
                                                                                      acknowledged
                                                                                      call back request
                                                                                      Sent to
                                                                                      Communication
                                                                                      Management
                                                                                      Component 102
Context                                                   Step 9                                            Step 8
Change                                                    Current context =                                 Private time
Event                                                     conditional                                       finished, event
                                                          Conditions =                                      detected and
                                                          unconditional                                     confirmed
                                                                                                            send context
                                                                                                            update message
                                                                                                            to
                                                                                                            Communication
                                                                                                            Management
                                                                                                            Component 102
           Stop: step 11                                  Step 10                                           Stop: step 11
           Caller connected to                            Communication                                     Mobile
           mobile                                         Management                                        connected to
                                                          Component 102                                     caller
                                                          initiates bi-lateral call
                                                          establishment
                                                          request to mobile and
                                                          originating caller Id
           Third Party                                    Communication                                     Mobile
           Communication                                  Management                  Mitigation            Communication
Time       Device 112                MSC 108              Component 102               Component 103         Device 104

Basic      Start; step 1             Step 2               Step3                       Step 4
Call       External call to client   MSC 108 receives     Communication               IVR sequence
Handling   initiated                 call establishment   Management                  informs caller that
                                     request and sends    Component 102               the mobile user is
                                     routing request      examines the caller         unable to accept
                                     query to             ID to determine if the      calls at this time
                                     Communication        call can be                 and the following
                                     Management           immediately                 options are
                                     Component 102        connected or if the         available
                                                          call should be              1) Voice mail
                                                          mediated                    2) Automated call
                                                          If mediation is             back upon at
                                                          selected the                journey end
                                                          Communication               3) Immediate
                                                          Management                  emergency call
                                                          Component 102               establishment
                                                          routes the call
                                                          establishment
                                                          request call to the
                                                          Mitigation
                                                          Component 103
                                                          Current context =
                                                          conditional
                                                          conditions = private
                                                          time
           Step 5                                         Step 7                      Step 6                Step 8
           Third Party                                    Communication               Call establishment    Mobile
           Communication                                  Management                  request is placed     Communication
           Device 112 requests                            Component 102               on hold               Device 104
           immediate                                      completes pending           Immediate call        rings in unique
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                                                        US 8,948,784 B2
                                53                                                                           54
                                          TABLE 10-continued
                                         Temporal & Calendar Meeting
          emergency call                           call establishment         establishment     manner (ring
          establishment                            request to mobile       request sent to      tone) to identify
                                                   from originating caller Communication        connection
                                                   Id                      Management           request and call
                                                                              Component 102     on hold
          Stop: step 10                            Step 9                                       Stop: step 10
          Caller connected to                      Current context =                            Mobile
          mobile                                   conditional                                  connected to
                                                   Conditions =                                 caller
                                                   conditional
                                                   Conformance = non
                                                   compliant

                                                                        15
  While illustrative embodiments have been disclosed and                     tions are intended to be included herein within the scope of
discussed, one skilled in the relevant art will appreciate that              this disclosure and protected by the following claims.
additional or alternative embodiments may be implemented                       What is claimed is:
within the spirit and scope of the present invention. Addition                 1. A computer-implemented method of assessing whethera
ally, although many embodiments have been indicated as                       mobile device is in a geospatial area, the method comprising:
illustrative, one skilled in the relevant art will appreciate that             receiving, at a mobile device, a representation of a non
the illustrative embodiments do not need to be combined or                        circular geospatial Zone;
implemented together. As such, some illustrative embodi                        causing storage of the representation of the non-circular
ments do not need to be utilized or implemented in accor                25        geospatial Zone in a memory of the mobile device;
dance with scope of variations to the present disclosure.                      determining, based at least in part on the non-circular
  Conditional language, such as, among others, “can.”                             geospatial Zone, an outer circular boundary entirely
“could.” “might,” or “may, unless specifically stated other                       encompassing the non-circular geospatial Zone, wherein
wise, or otherwise understood within the context as used, is                      the outer circular boundary is defined by at least a cen
generally intended to convey that certain embodiments                   30        troid of the non-circular geospatial Zone and a maximum
include, while other embodiments do not include, certain                          radius;
features, elements and/or steps. Thus, such conditional lan                    determining, based at least in part on the non-circular
guage is not generally intended to imply that features, ele                      geospatial Zone, an inner circular boundary entirely
ments and/or steps are in any way required for one or more                       encompassed within the non-circular geospatial Zone,
embodiments or that one or more embodiments necessarily                 35       wherein the inner circular boundary is defined by at least
include logic for deciding, with or without user input or                        the centroid of the non-circular geospatial Zone and a
prompting, whether these features, elements and/or steps are                      minimum radius;
included or are to be performed in any particular embodi                       computing a current distance of the mobile device from the
ment.                                                                             centroid of the non-circular geospatial Zone; and
   Any process descriptions, elements, or blocks in the flow
                                                                        40     in response to a determination that the computed current
                                                                                  distance both exceeds the minimum radius and does not
diagrams described herein and/or depicted in the attached                         exceed the maximum radius, utilizing the non-circular
figures should be understood as potentially representing mod                      geospatial Zone to determine a context of the mobile
ules, segments, orportions of code which include one or more                      device.
executable instructions for implementing specific logical               45     2. The computer-implemented method of claim 1 further
functions or steps in the process. Alternate implementations                 comprising:
are included within the scope of the embodiments described                     computing an updated current distance of the mobile
herein in which elements or functions may be deleted,                             device from the centroid of the non-circular geospatial
executed out of order from that shown or discussed, including                     Zone; and
Substantially concurrently or in reverse order, depending on            50     in response to a determination that the updated current
the functionality involved, as would be understood by those                       distance does not exceed the minimum radius, determin
skilled in the art. It will further be appreciated that the data                  ing that the mobile device is within the geospatial Zone.
and/or components described above may be stored on a com                       3. The computer-implemented method of claim 2, where
puter-readable medium and loaded into memory of the com                      no context notification is transmitted from the mobile device
puting device using a drive mechanism associated with a                 55   while the mobile device remains within the geospatial Zone.
computer readable storing the computer executable compo                        4. The computer-implemented method of claim 1 further
nents such as a CD-ROM, DVD-ROM, or network interface                        comprising:
further, the component and/or data can be included in a single                 computing an updated current distance of the mobile
device or distributed in any manner. Accordingly, general                         device from the centroid of the non-circular geospatial
purpose computing devices may be configured to implement                60        Zone; and
the processes, algorithms and methodology of the present                       in response to a determination that the updated current
disclosure with the processing and/or execution of the various                    distance exceeds the maximum radius, determining that
data and/or components described above.                                           the mobile device is outside of the geospatial Zone.
   It should be emphasized that many variations and modifi                     5. The computer-implemented method of claim 4 further
cations may be made to the above-described embodiments,                 65   comprising transmitting a context notification to a call pro
the elements of which are to be understood as being among                    cessing entity reflecting that the mobile device is outside of
other acceptable examples. All Such modifications and varia                  the non-circular geospatial Zone.
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                          55                                                                         56
  6. The computer-implemented method of Claim 1, wherein                   15. The system claim 9, wherein the computer-executable
management of requests for communication including the                  instructions further cause the processor to:
mobile device is defined in terms of a transmitted context                 compute an updated current distance of the mobile device
State.                                                                       from the centroid of the non-circular geospatial Zone;
  7. The computer-implemented method of claim 1, wherein           5         and
the current distance of the mobile device from the centroid of            in response to a determination that the updated current
the non-circular geospatial Zone is computed based at least in               distance exceeds the maximum radius, determine that
part on sensor-based location data of the mobile device.                     the mobile device is outside of the non-circular geospa
   8. The computer-implemented method of claim 7, wherein                    tial Zone.
the sensor-based location data corresponds to global position      10      16. The system of claim 15 further comprising transmitting
ing System data.                                                        a context notification to a call processingentity reflecting that
   9. A system comprising:                                              the mobile device is outside of the non-circular geospatial
   a data store including a representation of a non-circular            ZO.
      geospatial Zone:                                                     17. The system of claim 9, wherein the computer-execut
   a processor associated with a mobile device and configured      15   able instructions further cause the processor to modify a
      with computer-executable instructions that, when                  length of time until the mobile device reassesses whether it is
      executed by the processor, cause the processor to:                located in the non-circular geospatial Zone, and wherein the
      retrieve the representation of the non-circular geospatial        length of time is based at least partially on the current distance
         ZO                                                             of the mobile device from the centroid of the non-circular
     determine, based at least in part on the non-circular              geospatial Zone.
       geospatial Zone, an outer circular boundary entirely                18. The system of claim 9, wherein said mobile device is
       encompassing the non-circular geospatial Zone,                   associated with a bearing and a Velocity and wherein the
       wherein the outer circular boundary is defined by at             length of time is further based at least partially upon a deter
       least a centroid of the non-circular geospatial Zone             mination, based on the bearing and Velocity, of whether a
         and a maximum radius;                                     25   future position associated with the mobile device will inter
     determine based at least in part on the non-circular               sect an outer boundary of the non-circular geospatial Zone.
       geospatial Zone, an inner circular boundary entirely                19. A non-transitory, computer-readable medium includ
       encompassed within the non-circular geospatial Zone,             ing computer-executable instructions comprising:
       wherein the inner circular boundary is defined by at               first computer-executable instructions that, when executed
       least the centroid of the non-circular geospatial Zone      30        by a mobile device, cause the mobile device to receive a
         and a minimum radius;                                                representation of a non-circular geospatial Zone and to
     computea current distance of the mobile device from the                  maintain within a memory of the mobile device the
        centroid of the non-circular geospatial Zone;                         representation of the non-circular geospatial Zone;
     in response to a determination that the current distance              second computer-executable instructions that, when
         both exceeds the minimum radius and does not exceed       35         executed by the mobile device, cause the mobile device
         the maximum radius, utilize the non-circular geospa                 to determine, based at least in part on the non-circular
         tial Zone to determine a context of the mobile device.               geospatial Zone, an outer circular boundary entirely
  10. The system claim 9, wherein the current distance of the                 encompassing the non-circular geospatial Zone and an
mobile device from the centroid of the non-circular geospatial                inner circular boundary entirely encompassed within the
Zone is computed based at least in part on sensor-based loca       40         non-circular geospatial Zone, wherein the outer circular
tion data of the mobile device.                                              boundary is defined by at least a centroid of the non
   11. The system of claim 10, wherein the sensor-based                       circular geospatial Zone and a maximum radius, and
location data corresponds to location data previously associ                 wherein the inner circular boundary is defined by at least
ated with a known location.                                                  the centroid of the non-circular geospatial Zone and a
   12. The system of claim 11, wherein the known location is       45        minimum radius; and
a wireless node, and wherein the computer-executable                      third computer-executable instructions that, when
instructions further cause the processor to:                                 executed by the mobile device, cause the mobile device
   detect a signal from a transmitter, wherein the signal                    to compute a current distance of the mobile device from
     includes a transmitter identifier; and                                  the centroid of the non-circular geospatial Zone and, in
  recall previously stored location information according to       50        response to a determination that the current distance
     the transmitter identifier; and                                         both exceeds the minimum radius and does not exceed
  wherein the current distance of the mobile device from the                 the maximum radius, utilize the non-circular geospatial
     centroid of the non-circular geospatial Zone is computed                Zone to determine a context of the mobile device.
     based at least in part on the previously stored location             20. The non-transitory, computer-readable medium claim
     information.                                                  55   19, wherein the computer-executable instructions further
   13. The system claim 9, wherein the computer-executable              cause the processor to:
instructions further cause the processor to:                              compute an updated current distance of the mobile device
   compute an updated current distance of the mobile device                  from the centroid of the non-circular geospatial Zone;
     from the centroid of the non-circular geospatial Zone;                  and
     and                                                           60     in response to a determination that the updated current
  in response to a determination that the updated current                    distance does not exceed the minimum radius, determine
     distance does not exceed the minimum radius, determine                  that the mobile device is within the non-circular geospa
     that the mobile device is within the non-circular geospa                tial Zone.
     tial Zone.                                                           21. The non-transitory, computer-readable medium claim
   14. The system claim 13, where no context notification is       65   20, wherein no context notification is transmitted from the
transmitted from the mobile device while the mobile device              mobile device while the mobile device remains within the
remains within the non-circular geospatial Zone.                        non-circular geospatial Zone.
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  22. The non-transitory, computer-readable medium claim
19, wherein the third computer-executable instructions fur
ther cause the mobile device to:
  compute an updated current distance of the mobile device
    from the centroid of the non-circular geospatial Zone;
     and
  in response to a determination that the updated current
     distance exceeds the maximum radius, determine that
     the mobile device is outside of the non-circular geospa
     tial Zone.                                                     10
  23. The non-transitory, computer-readable medium claim
22, wherein the third computer-executable instructions fur
ther cause the mobile device to transmit a context notification
to a call processing entity reflecting that the mobile device is
outside of the non-circular geospatial Zone.                        15
   24. The non-transitory, computer-readable medium claim
19, wherein the third computer-executable instructions fur
ther cause the mobile device to modify a length of time until
the mobile device reassesses whether it is located in the
non-circular geospatial Zone, and wherein the length of time
is based at least partially on the current distance of the mobile
device from the centroid of the non-circular geospatial Zone.
                        k   k   k   k   k
